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                      EXHIBIT 3
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  1                                                         Pages:   1-153
  2                                                         Exhibits: 1-11
  3                        UNITED STATES DISTRICT COURT
  4                        EASTERN DISTRICT OF MICHIGAN
  5                               SOUTHERN DIVISION
  6                                  C.A. NO.: 2:21-cv-10312-SJM-RSW
  7      ***************************************
  8      TRUTEK CORP.,
  9                    Plaintiff,
 10      vs.
 11      BLUEWILLOW BIOLOGICS, INC. ROBIN ROE
 12      1 THROUGH 10, GENDER NEUTRAL FICTITIOUS NAMES,
 13      AND ABC CORPORATION 1 THROUGH 10
 14      (FICTITIOUS NAMES).
 15                    Defendants.
 16      ***************************************
 17                          DEPOSITION of DR. MANSOOR AMIJI, a
 18      witness called on behalf of the Plaintiff, taken
 19      pursuant to Michigan Court Rules Chapter 2, Section
 20      306, before Susan Baxter, a Court Reporter and Notary
 21      Public, in and for the Commonwealth of Massachusetts,
 22      at Veritext Legal Solutions, 101 Arch Street, Boston,
 23      Massachusetts, on Friday, October 14, 2022, commencing
 24      at 8:36 a.m.


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  1                                     I N D E X
  2      WITNESS                DIRECT     CROSS       REDIRECT   RECROSS
  3      MANSOOR AMIJI
  4      (By Mr. Kremen)          4
  5
  6                                 E X H I B I T S
  7      NO.                DESCRIPTION                               PAGE
  8      Exhibit 1          Notice of Deposition                     4
  9      Exhibit 2          US Patent 802                            13
 10      Exhibit 3          Curriculum Vitae                         13
 11      Exhibit 4          Expert Report on Invalidity              14
 12      Exhibit 5          Reply to Expert Report on                15
 13                          Invalidity
 14      Exhibit 6          Responsive Expert Report                 16
 15                          On Non-infringement
 16      Exhibit 7          Declaration in Support of                17
 17                          BlueWillow's Claim Construction
 18                          Brief
 19      Exhibit 8          US Patent 35USC101                       33
 20      Exhibit 9          US Patent 35USC112                       48
 21      Exhibit 10         NanoBio Droplet Document                 72
 22      Exhibit 11         Action Summary                           124
 23
 24                  (Exhibits retained by Court Reporter)


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  1                             P R O C E E D I N G S
  2
  3                          MANSOOR AMIJI, after being
  4              satisfactorily identified and duly sworn by the
  5              Notary Public, was examined and testified as
  6              follows:
  7
  8                              DIRECT EXAMINATION
  9              BY MR. KREMEN:
 10      Q      Good morning, Dr. Amiji.           My name is Stanley
 11              Kremen and I represent the Plaintiff, Trutek
 12              Corporation in this action.             I understand that
 13              you've been deposed previously; is that correct?
 14      A      Yes.
 15      Q      Could you please state your name for the record?
 16      A      Mansoor Amiji.     Mansoor is spelled M-a-n-s-o-o-r.
 17              Amiji is A-m-I-j-I.
 18                          MR. KREMEN:         Can I have the notice of
 19              deposition?
 20
 21                          (Whereupon, Notice of Deposition, was
 22                          marked as Exhibit No. 1.)
 23
 24      Q      Have you seen it before?


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  1      A      No, I haven't.
  2      Q      You're here today to comply with that notice; am
  3              I correct?
  4      A      Yes, I am.
  5      Q      You understand that this is a deposition and that
  6              you're being deposed today, correct?
  7      A      Yes.
  8      Q      And before I get started on the substance of
  9              today's deposition, I'd like to go over a few
 10              ground rules.    You probably know most of them
 11              because you've been deposed previously, so I'll
 12              go with them anyway, okay.
 13                           First, the court reporter just swore
 14              you in.   Do you understand that you're under
 15              oath?
 16      A      Yes, I do.
 17      Q      Do you understand that you must tell the truth
 18              and that if you do not, you are subject to
 19              penalties of perjury?
 20      A      Yes.
 21      Q      And you understand that the testimony that you
 22              give today is the same as if you were testifying
 23              in court?
 24      A      Yes, I do.


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  1      Q      Do you understand that you are obligated to
  2              answer my questions completely, truthfully, and
  3              accurately, correct?
  4      A      Yes.
  5      Q      Because the court reporter is recording our
  6              conversation is absolutely essential that your
  7              answers be verbal.       A transcript of the
  8              deposition will be generated.              When a yes or no
  9              answer is required, please do not nod or shake
 10              your head, and responses like Uh-huh or Mm-hmm do
 11              not register as an answer. So a verbal answer is
 12              required. Okay?
 13      A      Yes.
 14      Q      And we should not speak over each other. Let me
 15              finish asking my question before you answer. I
 16              will also let you finish answering without
 17              interruption. Do you understand?
 18      A      Yes.
 19      Q      Okay.   If for any reason you need a break, please
 20              let me know.    If I'm in the middle of a line of
 21              questioning when you tell me that, that you need
 22              a break, I will finish the line of questioning
 23              and then you can go on break; is that understood?
 24      A      Yes.


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  1      Q      And please understand that if you go to lunch or
  2              go on break, you may not discuss the case or your
  3              testimony with anyone including your attorney; is
  4              that clear?
  5      A      Yes.
  6      Q      Are you taking any medications that could
  7              interfere with your ability to concentrate on the
  8              questions and answers and to answer my questions
  9              as required?
 10      A      I'm not.
 11      Q      Is there any reason medical or otherwise that you
 12              believe that you might not be able to answer
 13              completely, truthfully and accurately?
 14      A      No, there isn't.
 15      Q      If for some reason that changes during the course
 16              of the day, please let me know. Okay?
 17      A      Yes.
 18      Q      Now, your attorney may object from time to time
 19              and unless she instructs you not to answer, you
 20              understand that you are obligated to answer my
 21              questions to the best of your ability?
 22      A      Yes.
 23                          MR. ALTMAN:        Stan, before you continue,
 24              before we had a brief discussion that we have


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  1              agreed that all objections are preserved other
  2              than objections to form.
  3                          MR. KREMEN:        Okay.
  4      Q      If you don't understand one of my questions, or
  5              if the question is confusing, please say so and
  6              ask me for clarification; is that okay?
  7      A      Yes.
  8      Q      So it's fair to assume that if you answer a
  9              question that you understand it?
 10      A      Yes.
 11      Q      As an expert, you understand that I may ask you
 12              questions concerning your opinions and that some
 13              of those questions may challenge your opinion; do
 14              you understand that?
 15      A      Yes.
 16      Q      Your Notice of Deposition required you to produce
 17              certain documents within seven days prior to this
 18              deposition.    If you would look at that.           I know
 19              that you've provided me with, I think on Monday,
 20              you provided me with a whole bunch of expert
 21              declarations and reports.           So I'm noting that you
 22              did that.
 23                          MS. PETERSON:         Yes.     We produced copies
 24              of publicly available prior declarations from


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   1              Dr. Amiji and we objected to the remaining
   2              category of requests and Dr. Amiji doesn't have
   3              any other documents to produce today.
   4                          MR. ALTMAN:        We talked about that he'd
   5              be coming with invoices.
   6                          MR. KREMEN:        Right.
   7                          MS. PETERSON:         No, we did not.       We said
   8              that he would be prepared to talk about how much
   9              time he has spent on the matter, and he is, so
 10               you can ask him those questions.
 11                           MR. ALTMAN:        We said that we wanted the
 12               invoices.
 13                           MS. PETERSON:         And I said that we were
 14               not going to be producing copies of the invoices.
 15               You can ask him questions about how much time he
 16               spent.   And you said as long as he's prepared
 17               with an answer, that's fine.               And he is prepared
 18               with an answer.
 19                           MR. ALTMAN:        By the way, what is your
 20               objection to producing copies of the invoices?
 21                           MS. PETERSON:         I don't think it's
 22               called for under the rules.            And we've already --
 23               we've already covered all of this and I thought
 24               we had an agreement.        You can ask him the


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   1              question and that information, he'll provide it.
   2      Q      Now, when were you hired as an expert by
   3              BlueWillow?
   4      A      Sometime in March this year.
   5      Q      Now, were you paid a flat fee?
   6      A      I'm paid by the hour.
   7      Q      Now, what is your hourly rate that you charge
   8              BlueWillow for your work?
   9      A      Nine hundred.
 10       Q      Did you send BlueWillow an invoice or invoices
 11               for the work that you did?
 12       A      Yes, I have.
 13       Q      How much did you bill them to date?
 14       A      I believe for the work that I have done, all the
 15               expert reports, it's about 50 hours.
 16       Q      And what is the dollar amount?
 17       A      Nine hundred times 50.
 18       Q      Okay.   Did they pay you the full amount of your
 19               invoice or invoices?
 20       A      I believe they've been paid, except for maybe the
 21               last month's invoice.
 22       Q      You didn't bring a copy of the invoices with you;
 23               is that correct?
 24       A      Yes.


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   1      Q      I'd like to request a copy of the invoice that
   2              you sent to BlueWillow for your work to date.
   3                          Now, did you bill BlueWillow for all
   4              the work that you've done for them to date?
   5      A      Except for the work that I've done this month, I
   6              have not billed yet.
   7      Q      Okay.   I'd also like to request a copy of future
   8              invoices that will be submitted to BlueWillow for
   9              all work performed by you to date.
 10                           MS. PETERSON:         We'll take that under
 11               advisement subject to our objections.
 12                           MR. KREMEN:        Okay.
 13       Q      Now, what did you do to prepare for this
 14               deposition today?
 15       A      I read my expert reports.          I read the expert
 16               report from the plaintiff side.            I read the
 17               patent in suit.     Some of the prior art document
 18               -- yes, mostly reading different types of
 19               reports.
 20       Q      Did you meet with any of BlueWillow's attorneys
 21               to prepare for this deposition either in person
 22               or otherwise?
 23                           MS. PETERSON:         Answer that yes or no.
 24       A      Yes.


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   1      Q      Which attorneys?
   2      A      Miss Peterson.
   3      Q      How many times?
   4      A      We met yesterday and on Wednesday.
   5      Q      For how long?
   6      A      About two hours each.
   7      Q      Was anyone else present along with Liane Peterson
   8              either in person or otherwise?
   9      A      No.
 10       Q      Did you speak with anyone from BlueWillow in
 11               preparation for your deposition?
 12       A      No.
 13       Q      Did your attorney or anybody else show you any
 14               documents in preparation that you did not already
 15               have?
 16       A      No.   I think we just went over the reports and
 17               the exhibits.
 18       Q      Other than your attorney, did you speak with
 19               anyone from BlueWillow in preparation for your
 20               deposition?
 21       A      No.
 22       Q      Have you ever had any conversations directly with
 23               somebody from BlueWillow?
 24       A      No.


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   1      Q      So you never spoke with anybody from BlueWillow?
   2      A      No.
   3      Q      Have you spoken with any attorneys other than
   4              Ms. Peterson regarding this case?
   5      A      No, I have not.
   6                          MR. KREMEN:         Can I have the 802 patent.
   7              That will be marked as Exhibit 2.
   8
   9                          (Whereupon, United States Patent 802,
 10                           was marked as Exhibit No. 2.)
 11
 12       Q      You do understand that this litigation is about
 13               infringement of this patent by your client,
 14               correct?
 15                           MS. PETERSON:          Objection to form.
 16       A      Yes, I understand this is the patent in suit.
 17       Q      And this is the document that's marked as
 18               plaintiff Exhibit 2.
 19                           MR. KREMEN:         What about his curriculum
 20               vitae.
 21
 22                           (Whereupon, Curriculum Vitae, was
 23                           marked as Exhibit No. 3.)
 24


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   1      Q      This document is your curriculum vitae or resume.
   2              Would you just confirm that that is yours?
   3      A      Yes, it is.
   4      Q      And you wrote that all yourself, everything in
   5              there is something you wrote specifically, right?
   6      A      Yes.
   7                           MR. ALTMAN:       Just as a practical
   8              matter, given that we're using universal
   9              numbering, while we may bring an extra copy for
 10               the witness, we're not going to bring copies of
 11               exhibits that have already been marked in a
 12               previous deposition for counsel.           Just to cut
 13               down on the paper.
 14                            MS. PETERSON:        Okay.
 15                            MR. KREMEN:       Now, I need the reports.
 16                            MR. ALTMAN:       We'll do one at a time.
 17               Which one do you want first?
 18                            MR. KREMEN:       I guess the initial
 19               invalidity report.
 20
 21                            (Whereupon, Invalidity Report, was
 22                            marked as Exhibit No. 4.)
 23
 24       Q      This is a report that you submitted that we have


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   1              from you.    Is this your report?
   2      A      Yes.   This is the opening invalidity report,
   3              Exhibit 4.
   4      Q      And it contains your opinions that you formed on
   5              that subject; is that correct?
   6      A      Yes, it is.
   7                           MR. KREMEN:       I need the second one.
   8
   9                           (Whereupon, Reply Expert Invalidity
 10                            Report, was marked as Exhibit No. 5.)
 11
 12       Q      This one is labeled -- now, the first one was
 13               actually labeled Opening Expert Report -- Number
 14               4 was Opening Expert Report of Mansoor M. Amiji,
 15               Ph.D. on Invalidity.        And this particular
 16               document, the second document, will be Reply
 17               Expert Report of Mansoor M. Amiji on Invalidity.
 18                            Is this your report?
 19       A      Yes, it is.
 20       Q      Now, I noticed that both of them are reports of
 21               invalidity.   What is the difference between those
 22               reports?
 23       A      So this is the opening report.              Exhibit 4 is
 24               opening report that I provided on the invalidity


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   1              of the patent claims, patent in suit, data.            And
   2              the reply report is based on the opinions that
   3              are provided by the two experts and I was
   4              rebutting those opinions.
   5      Q      Okay.   Now, the next one will be, I guess, 6.
   6
   7                           (Whereupon, Responsive Expert Report on
   8                           Non-Infringement, was marked as Exhibit
   9                           No. 6.)
 10
 11       Q      Now, I have another one called Responsive Expert
 12               Report of Mansoor M. Amiji, Ph.D on Non-
 13               Infringement.    That's marked as Exhibit 6.          This
 14               is your report also, right?
 15       A      Yes, it is.
 16       Q      What is the substance of it?
 17       A      So, this is a report based on opinions related to
 18               non-infringement of the BlueWillow NanoBio
 19               Protect product based on the comments and
 20               opinions of Dr. Lemmo, the Trutek expert.
 21       Q      Now, going back to Exhibit Number 5, which is the
 22               Reply Export Report.        What are you replying to in
 23               that report?
 24       A      I'm replying to the opinions of the Trutek expert


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   1              --
   2      Q      Which one -- which are whom?
   3      A      Dr. Lemmo and Mr. Haidri.
   4      Q      And the Responsive Expert Report on Non-
   5              Infringement, you're replying to whom?
   6      A      To Dr. Lemmo.
   7      Q      Dr. Lemmo, okay.
   8                           MR. KREMEN:        Next one we'll mark as
   9              seven.
 10
 11                            (Whereupon, Declaration in Support of
 12                            BlueWillow's Claim Construction Brief,
 13                            was marked as Exhibit No. 7.)
 14
 15       Q      This is the Declaration of Mansoor M. Amiji,
 16               Ph.D. in Support of BlueWillow's Claim
 17               Construction Brief.        That's your report, right?
 18       A      Yes, it is.
 19       Q      And the the purpose of it is to do what?
 20       A      To support BlueWillow's claim construction brief.
 21       Q      All right.    Now, you haven't submitted any other
 22               writings that contain your opinions in this case;
 23               am I correct?
 24       A      That's correct.     These are the reports.


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   1      Q      This is the whole domain?
   2      A      These are the reports and declaration.
   3      Q      Let me just put these in order here.          Now, these
   4              reports contain all of your opinions to date in
   5              this case; am I correct?
   6      A      They do contain all the opinions to date, but if
   7              there's anything new that comes from the
   8              plaintiff side then I will be rebutting.
   9      Q      Okay.   But as of today, these are your opinions,
 10               right?
 11       A      As of today, these are my opinions.
 12       Q      Are you continuing to do work developing new
 13               opinions?
 14       A      As I said, if there is anything that comes from
 15               the plaintiff side, if I'm asked to opine on it,
 16               I'll be looking at that evidence.
 17       Q      But as of today, you're not going to be
 18               supplementing your opinions, am I correct, unless
 19               some new evidence comes up; am I correct?
 20       A      That's correct.
 21       Q      Did you -- you're not an attorney; am I correct?
 22       A      No, I'm not.
 23       Q      Did you ever attend law school?
 24       A      No, I have not.


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   1      Q      Did you ever sit for a bar examination in any
   2              state?
   3      A      No, I have not.
   4      Q      Are you a Patent Agent licensed to practice in
   5              patent matters by the United States Patent and
   6              Trademark Office?
   7      A      No, I'm not.
   8      Q      Have you ever heard the term MPEP?
   9      A      No, I have not.
 10       Q      It stands for the Manual Patent Examining
 11               Procedure.    Have you ever read it?
 12       A      I am familiar with the patent prosecution
 13               process, but I've not read the manual.
 14       Q      You've not read the MPEP?
 15       A      No, I have not.
 16       Q      Let's see.    Exhibit Number 6, which is your
 17               Responsive Report on Non-Infringement, turn to
 18               page nine.
 19       A      I'm here.
 20       Q      In paragraph 24 you say, "I've been informed that
 21               a claim must be construed under the Phillips
 22               standard."
 23                            Who informed you of this?
 24       A      Counsel.


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   1      Q      Was this the first time that you were informed of
   2              that?
   3      A      I'm familiar with the claim construction process,
   4              but the standard specifically I was informed by
   5              counsel.
   6      Q      When were you informed of this?
   7      A      When I started working on the case, and
   8              subsequently, when I started working on my
   9              reports.
 10       Q      To your understanding, what is the Phillips
 11               standard?
 12       A      Well, as I've stated in my report, it's the
 13               standard that the claim are given their plain and
 14               ordinary meaning as understood by the person of
 15               skill in the art.
 16       Q      Okay.    Is that always the case, that they're
 17               given the plain and ordinary meaning?
 18                            MS. PETERSON:         Objection to form.
 19               Actually, just objection.            He's already said he's
 20               not a legal --
 21                            MR. KREMEN:        I'm just asking what his
 22               understanding is.
 23                            MS. PETERSON:         I know.   He's already
 24               told you he's not a patent lawyer.            And he said


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   1              that --
   2                           MR. KREMEN:       That's a speaking
   3              objection.
   4                           MS. PETERSON:        -- his understanding is
   5              provided in his report, so.
   6      Q      In paragraph 27 on page 10, would you read it to
   7              yourself?
   8      A      (Witness complies.)
   9      Q      Who informed you of this?
 10       A      Counsel.
 11       Q      When were you informed?
 12       A      Around the same time that I was working on my
 13               expert reports.
 14       Q      Would you read paragraph 27 aloud for the record.
 15               Would you read paragraph 27 on page 10 aloud?
 16       A      Yes, paragraph 27 on page 10?
 17       Q      Actually, the first sentence only.
 18       A      First sentence on paragraph 27 of page 10 says,
 19               "I've been informed that literal infringement
 20               requires that every limitation set forth in a
 21               claim must be found in an accused product."
 22       Q      Keep going.    Next one.
 23       A      "I'm also informed that direct infringement
 24               requires a party to perform each and every step


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   1              or element of a claimed product or method."
   2      Q      And the next sentence.
   3      A      "I've also been informed that for purposes of any
   4              infringement analysis, the comparison is between
   5              the properly construed claims and the accused
   6              product."
   7      Q      Now, what is your understanding of those three
   8              sentences?
   9      A      Based on these specific requirements in my
 10               analysis, my understanding is that in order for
 11               the BlueWillow product, Nano Biotech product, to
 12               infringe the claims of the 802 patent, each and
 13               every element of the claim has to be met.
 14       Q      Okay.   Also, what about -- I've seen this --
 15               strike that.
 16                            Would you agree that a patent is not
 17               required to contain test data?
 18                            MS. PETERSON:        Objection.
 19       A      Well, my understanding of -- and again, I'm not a
 20               lawyer, so I don't know exactly what the patent
 21               examiner looks for in the prosecution.           But the
 22               patent does require a personal skill in the art,
 23               information from there that suggests that the
 24               patent does enable the full scope of --


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   1      Q      It has to be enabled, but is it required to have
   2              test data?
   3                           MS. PETERSON:        Objection.   He's not a
   4              lawyer.   You're asking him for opinions related
   5              to legal requirements, and that is clearly not a
   6              testimony that he's providing in this case.
   7                           MR. KREMEN:       He opines on it.
   8                           MS. PETERSON:        I disagree with that.
   9              He is not providing legal testimony.           He is
 10               providing technical expert testimony on ultimate,
 11               in the factual issues that underlie the legal
 12               issues in the case, but he is not providing legal
 13               opinions. He is not a lawyer.
 14                            MR. KREMEN:       Okay.
 15       Q      You would also agree -- would you agree that not
 16               everyone who practices in the field of pharmacy
 17               or pharmacology has a Ph.D?
 18                            MS. PETERSON:        Objection to form.
 19               Vague.
 20       A      It depends on the practice.
 21       Q      But not everyone has a Ph.D, yes?
 22       A      Yes, it would depend on the practice.           If you're
 23               a clinical pharmacist, you get a PharmD degree.
 24               If you're a retail pharmacist, you could have a


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   1              bachelor's degree.
   2      Q      Now, what about a pharmaceutical formulator, does
   3              a pharmaceutical formulator have to have a Ph.D?
   4                          MS. PETERSON:          Objection to form.
   5              Vague.
   6      A      Again, depends on in other kinds of formulations
   7              that they were developing.             They could have a
   8              master's degree and then have practical
   9              experience.
 10       Q      So they have a bachelor's degree and practical
 11               experience?
 12       A      Again, if they're just simply able to develop the
 13               formulation, but in the purposes of the claims of
 14               the 802, that formulation also has to function in
 15               specific ways.
 16                           MR. KREMEN:         That is a non-responsive
 17               question.   Objection.
 18       Q      You have been listed as an inventor or
 19               co-inventor on several patents, yes?
 20       A      Yes, I am.
 21       Q      Approximately, how many patents?
 22       A      About 15 or so issued patents and some that are
 23               in the prosecution right now.
 24       Q      Were any of these US patents granted where you


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   1              were the sole inventor, not co-inventor?
   2      A      I have two that were issued that I am the sole
   3              inventor.
   4      Q      Now, you said you're not an attorney.           Typically,
   5              when you're working on preparing patent
   6              applications, did you work with an attorney?
   7      A      Yes, I did.
   8      Q      Typically, who would draft the specification?
   9                           MS. PETERSON:         Objection to form.
 10       A      It depends on the specific sections of the
 11               specification.     Sometimes they ask me to provide
 12               examples, but in other parts of the
 13               specification, the attorneys provided me and then
 14               I reviewed.
 15       Q      Where there would be drawings, who would do the
 16               drawings?
 17       A      Again, it depends on the specific drawings.            But
 18               generally, if these are figures that came from
 19               data, I would be the one providing those.
 20       Q      Who would draft the claims?
 21       A      Again, working with the attorneys, they would
 22               initially come with some understanding of the
 23               claim language and then they would ask my
 24               opinion.


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   1      Q      So they would draft it and then you would review
   2              it, right?
   3      A      That's correct.
   4      Q       Now, just to get some shorthand considerations
   5              out of the way, for the rest of the deposition,
   6              I'll refer to the plaintiff as Trutek and the
   7              defendant as BlueWillow; is that okay?
   8      A      That's fine.
   9      Q      Okay.   I'll also refer to US patent number
 10               8163802, which is Exhibit 2.                And I'll refer to
 11               that as the 802 patent; is that okay?
 12       A      Yes.
 13       Q      We'll talk about the 802 patent later.                I will
 14               also refer to the United States Patent and
 15               Trademark Office as the USPTO. Have you heard
 16               that expression before, right?
 17       A      Yes.
 18       Q      And I'll refer to the USPTO Patent Trials and
 19               Appeals Board as the PTAB; okay?
 20       A      Yes.
 21       Q      Now, you've testified in other previous legal
 22               matters; is that correct?
 23       A      Yes, I have.
 24       Q      What percentage of your practice is litigation


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   1              related?
   2                           MS. PETERSON:         Objection to form.
   3      A      So I do -- my total consulting work is around 25
   4              percent.
   5      Q      Okay.   Now, approximately, how many times have
   6              you testified?
   7      A      In depositions or trials or both?
   8      Q      Both.
   9      A      Maybe around 20 times.
 10       Q      Did you ever testify at a trial in open court?
 11       A      Yes.
 12       Q      Approximately, I'm not looking for an exact
 13               number, how many times did you testify at trial?
 14       A      Five or six.
 15       Q      Was your testimony always as an expert witness?
 16       A      Yes.
 17       Q      Generally, what were the subjects of your
 18               testimony?
 19       A      Generally, related to pharmaceutical formulations
 20               and drug product development.
 21       Q      Did they always involve patents in some way?
 22       A      Majority of the cases that I've been on are
 23               patent related, but I've also been on some
 24               contract disputes.


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   1      Q      Did you always generate an expert report or
   2              declaration prior to your deposition or trial
   3              testimony?
   4      A      Again, generally, in the patent cases I have.
   5      Q      Was there ever a time when a court did not permit
   6              you to testify or declined to accept you as an
   7              expert witness?
   8      A      No.
   9      Q      Has there ever been a time that your testimony
 10               was limited in any way, to your knowledge?
 11       A      Not to my knowledge.
 12       Q      Did you ever testify in a proceeding before the
 13               USPTO?
 14       A      No, I have not.
 15       Q      So by testimony, I'm speaking about also
 16               deposition testimony.
 17       A      Not in front of the USPTO.            I have provided
 18               declarations for IPR cases.
 19       Q      Okay.   But were you ever actually deposed in
 20               those cases?
 21       A      By the attorneys, not by the PTO, not by the
 22               Patent and Trademark Office.
 23       Q      Okay.   Now, what kind of proceedings were they?
 24       A      IPR proceedings.


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   1      Q      Well, IPR, but were they PGR interferences,
   2              appeals?
   3      A      Some of them were -- majority have been IPR.
   4      Q      So in those proceedings, any testimony you gave
   5              was always by deposition, there was no open
   6              court, right?
   7      A      That's correct.
   8      Q      Prior to testifying at the USPTO, did you always
   9              submit a report or a declaration under oath?
 10       A      Yes, I did.
 11       Q      Okay.   Was there ever a time when the PTAB did
 12               not permit you to testify or refused to accept
 13               you as an expert witness?
 14       A      I don't -- I don't know, but everything that I've
 15               done so far has been accepted.
 16       Q      Incidentally, every time I use the word PTAB,
 17               it's P-T-A-B.     Did you say that there was never
 18               an instance where the PTAB did not accept your
 19               testimony or limited your testimony in any way?
 20       A      I'm not aware of.
 21       Q      Now, you do understand that you're testifying
 22               here today as an expert witness, correct?
 23       A      Yes.
 24       Q      And you were hired to serve in that capacity by


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   1              the defendant BlueWillow Biologics; is that
   2              correct?
   3      A      Yes.
   4      Q      Now, what is the field of expertise to which you
   5              will testify?
   6      A      I'm a pharmaceutical formulator.            I develop
   7              pharmaceutical products.
   8      Q      Is that list exhaustive?          Do you have any other
   9              fields of expertise that you're presenting
 10               yourself?
 11       A      No.    I'm an expert in the pharmaceutical
 12               formulations and characterization, and
 13               ultimately, applications of pharmaceutical
 14               formulations for treatment or prevention of
 15               diseases.
 16       Q      Now, in your capacity as an expert in these
 17               fields, you generated two reports on the validity
 18               of the 802 patent on behalf of the defendant;
 19               that's correct, yes?
 20       A      Yes, I did.
 21       Q      And that is 4 and 5.       Now, these reports, they
 22               contain all your opinions concerning the validity
 23               of the 802 patent; is that correct?
 24       A      Yes.


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   1      Q      Let's just take a look here.            Turn to Page 95 of
   2              Exhibit 4.    At the top of the page, under the
   3              heading subject matter eligibility, could you
   4              read the sentence labeled as Roman numeral 12.
   5      A      "Analysis:    Claims 1, 2, 6, and 7 are invalid for
   6              being directed to ineligible subject matter under
   7              35 USC Section 101."
   8      Q      Okay.   And you allege that these claims are
   9              directed to ineligible subject matter, right?
 10       A      Yes, I do.
 11       Q      Now, you would agree that because claim one
 12               recites a process or a method, it falls into the
 13               class of inventions that are patentable under
 14               Section 101; is that correct?
 15                            MS. PETERSON:        Objection to form.
 16       A      Again, my analysis for the subject matter and
 17               eligibility, as I discussed in my report, is
 18               based on the fact that the claims are derived
 19               towards the ability of this composition or to
 20               attract electrostatically, which is a well known
 21               phenomena in nature.
 22       Q      You you express an opinion about the statute of
 23               35 USC 101, what is 101?
 24                            MS. PETERSON:        Objection.


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   1              Mischaracterizes his opinion.              He's not a patent
   2              lawyer.
   3                           MR. KREMEN:       Well, he very specifically
   4              mentioned the statute.         I have the right to
   5              question him on that.
   6                           MS. PETERSON:        He did not express an
   7              opinion as to the meaning of the statute, which
   8              is what you just asked him to provide.              He
   9              provided technical opinions relating to the
 10               patent.   If you want to ask him about those
 11               opinions, I'm sure he's prepared to answer.                But
 12               he's not providing -- your question was directed
 13               to what is Section 101 requiring.              He's not a
 14               legal expert.
 15                            MR. ALTMAN:       Liane, that's a speaking
 16               objection.    They're not allowed.            It's just
 17               objection form.
 18                            MS. PETERSON:        And I started off with
 19               an objection to the form and Mr. Kremen followed
 20               up, so I'm just answering his question.
 21                            MR. ALTMAN:       I don't think that's what
 22               took place but that's fine.
 23       Q      So as it stands right now, you don't know what
 24               101 says?


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   1                          MS. PETERSON:         Objection.
   2              Mischaracterizes his testimony.
   3      A      As I mentioned in my report, I apply these
   4              standards in the standard.            I've discussed it in
   5              my report, Exhibit 4, under the specific
   6              standards that I've applied to my analysis.
   7      Q      I'm going to present you with --
   8
   9                          (Whereupon, US Code Section 101, was
 10                           marked as Exhibit No. 8.)
 11
 12       Q      Do you know what the standard is in 101?
 13                           MS. PETERSON:         Objection, form.
 14       A      As I mentioned before, I was provided with these
 15               standards, and I mention these in my report,
 16               specifically starting on paragraph 30, how I
 17               understand -- my understanding of the patent law
 18               in what was provided to me.            And then subsequent
 19               to that, I have discussed the various parts of
 20               those standards.
 21       Q      Have you ever given an opinion on this standard
 22               before?
 23       A      Yes, I'm sure I have.
 24       Q      I'm going to give you a copy of 35 USC 101.            And


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   1              could you read the statute aloud?
   2                           MS. PETERSON:         Excuse me, what
   3              deposition exhibit number are we marking this as?
   4                           MR. ALTMAN:        Eight.      I'm sorry.
   5      A      The document says, "Whoever invents or discovers
   6              any new and useful process, machine manufacturer
   7              or composition of matter, or any new and useful
   8              improvement thereof may obtain a patent
   9              therefore, subject to the conditions and
 10               requirements of this title."
 11       Q      Now, is this your understanding of the standard
 12               of 35 USC 101?
 13                            MS. PETERSON:         Objection, vague,
 14               ambiguous.
 15       A      Again, if this is the standard as you have
 16               presented to me, and I mentioned in my report, I
 17               specifically discuss the various aspects of those
 18               standards in the context of my analysis.
 19       Q      Now, would you agree that because claim one is a
 20               process, and claim two is a composition of
 21               matter, discusses a composition of matter, that
 22               the claims fall within the classification of
 23               inventions patentable under the statute?
 24                            MS. PETERSON:         Objection to form.


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   1              Ambiguous.    Calls for an answer outside of the
   2              testimony and opinions that he's providing in
   3              this case.
   4                           MR. ALTMAN:       Liane, that's a speaking
   5              objection.    There's no speaking objections.
   6      A      So I'm not a lawyer, but as I read the claims,
   7              and in view of a personal skill in the art, I
   8              inform my opinions related to all of the
   9              different sections in my invalidity.
 10       Q      So you wouldn't know?
 11       A      I have not really looked at the specific --
 12       Q      Well, you're looking at it right now.            I mean,
 13               what is your -- it gives a group of
 14               classifications of things, of types of things
 15               that are patentable, okay.            And it says a
 16               process, a machine, a manufacturer or composition
 17               of matter, or any new and useful improvement
 18               thereof.    Is this claim one concern a process or
 19               a method?
 20       A      It's a method, but it is a method of
 21               electrostatically inhibiting --
 22       Q      I'm not -- that's not what I'm asking.            That's
 23               not responsive.     I was very specific.         Does it
 24               cover a process, a method?


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   1      A      The claim covers a method, but the method of
   2              electrostatically attracting or inhibiting --
   3      Q      We'll get to that afterwards.               But it --
   4                          MS. PETERSON:         Counsel, can you please
   5              let the witness finish his question -- or finish
   6              his answer.
   7                          MR. ALTMAN:        Why don't you ask it again
   8              so we have a clean --
   9                          MR. KREMEN:        Okay.
 10       Q      Is claim one a method or a process, yes or no?
 11       A      Yes, it is a method, a claim.
 12       Q      Okay.   And is claim two a composition of matter?
 13       A      Claim two is a formulation.
 14       Q      Which is a composition of matter, yes?
 15       A      Yes.
 16       Q      So just in terms of the category of things that
 17               are patentable, that are inventions patentable,
 18               those two claims fall within that category, am I
 19               right?
 20                           MS. PETERSON:         Objection to form.
 21       A      Again, just looking at the term method or
 22               formulation, they fall, but once you read the
 23               entirety of the claim it doesn't.
 24                           MR. KREMEN:        Objection.


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   1                          MS. PETERSON:          Mr. Kremen, again,
   2              please let the witness finish his answer.           If you
   3              have an objection to his question, that's fine,
   4              but wait until his answer is complete rather than
   5              cutting him off.
   6                          MR. KREMEN:         Objection.   The answer is
   7              non-responsive after the word but.
   8      Q      Now, in paragraph 202, you allege that the claims
   9              of the 802 patent are directed to laws of nature
 10               or natural phenomenon, yes?
 11                           MS. PETERSON:          Objection.
 12               Mischaracterizes --
 13                           MR. ALTMAN:         That's a speaking
 14               objection, Liane.       It's objection form.
 15                           MS. PETERSON:          It's a concise statement
 16               of the objection.
 17                           MR. ALTMAN:         No, it's not.   That's a
 18               speaking objection.
 19       A      Are you asking about paragraph two of Exhibit 4?
 20       Q      Yes.
 21       A      Yes, that's what I'm -- that's my opinion in
 22               paragraph 202.
 23       Q      Okay.   Because of this subject matter, it's your
 24               opinion that the subject matter of the claims are


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   1              patent ineligible; am I right?
   2      A      That's correct.
   3      Q      Okay.   And that law of nature is electrostatic
   4              traction and repulsion, yes?
   5      A      Yes.
   6      Q      Isn't it true that all inventions, patentable or
   7              not, utilize laws of nature?
   8                          MS. PETERSON:          Objection to form.
   9      A      My understanding is that for subject matter to be
 10               patentable, there has to be some novelty beyond
 11               what is well known to personal skill in the art
 12               as occurring by nature.
 13       Q      That's non-responsive.          Can you think of a patent
 14               that does not involve somehow a law of nature?
 15                           MS. PETERSON:          Objection to form.
 16       A      Again, there has to be something on top of just
 17               attracting electrostatically to be able to be
 18               patentable to be novel.
 19       Q      All right.   Let's try to get some examples here.
 20               Would you say that centrifugal force is a law of
 21               nature?
 22       A      It depends on --
 23       Q      Natural phenomena -- just the abstract.
 24       A      Then you have to induce centrifugal force.           It's


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   1              not something that occurs just by itself.
   2      Q      Okay.   So a centrifuge, which uses centrifugal
   3              force would be patentable, right?
   4                          MS. PETERSON:         Objection to form.
   5      A      Again, it's an instrument that creates that
   6              centrifugal force.       Here you're relying simply on
   7              having negatively charged particle come to a
   8              positively charged surface.
   9      Q      Okay.
 10                           MR. KREMEN:        Objection, non-responsive.
 11       Q      How about a tire, can a tire do its function
 12               without gravity?
 13       A      Again, there are many other things that are
 14               affected by gravity.        Tire is just one of them.
 15       Q      Okay.   But it can't function without gravity, a
 16               tire won't move a car unless it was -- unless it
 17               was utilizing the law of nature, which would be
 18               gravity, right?
 19       A      No.   Part of the function of the tire is that it
 20               allows the automobile to be driven, and so the
 21               engine of the automobile and all the other
 22               elements in the car also affects the function of
 23               the tire.
 24       Q      So does a tire require gravity in order to work?


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   1      A      Yes, it does.
   2      Q      Okay.   Now, you would agree that merely because a
   3              claim invention uses a law of nature, that does
   4              not make it patent ineligible; am I correct?
   5      A      But there has to be something novel about it.            In
   6              this case, there is nothing novel beyond the fact
   7              that there is electrostatic attraction.
   8                          MR. KREMEN:        Non-responsive.
   9      Q      You would also agree that if a claim process
 10               utilizes the law of nature and contains
 11               additional steps, each of which uses a law of
 12               nature, that the claim invention could be subject
 13               matter eligible for patentability, yes?
 14                           MS. PETERSON:         Objection to form.
 15       A      I haven't -- I looked at my analysis based on the
 16               elements of the claims and the language of the
 17               claim.
 18       Q      Would you agree that -- would you agree that if a
 19               claims process uses a law of nature and contains
 20               additional steps, each of which use a law of
 21               nature, that the claim invention could be subject
 22               matter eligible for patentability?
 23                           MS. PETERSON: Objection.
 24       A      Again, I have to look at the specifics of those


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   1              claims to make my -- looking at the 802 patent
   2              claim, my opinion is that --
   3      Q      I'm not speaking about the 802 patent.          I'm
   4              speaking in general, that if it uses a -- if a
   5              claim uses a law of nature, and it contains other
   6              steps that also use a law of nature, that that
   7              could be patent eligible, just because it uses a
   8              law of nature it's not necessarily ineligible?
   9                           MS. PETERSON:        Objection.
 10       A      I have to look at those claims to be explicit. I
 11               don't know -- sitting here, I don't know exactly
 12               what you're talking about.
 13       Q      Now, in paragraph 202, you state that the claims
 14               of the 802 patent utilize electrostatic
 15               attraction or repulsion and that they have
 16               additional steps or elements, yes?
 17       A      Yes.    Those are the elements A, B, and C.
 18       Q      Okay.    But you also say that each of those
 19               additional claim elements are either conventional
 20               steps that are well known to a person of ordinary
 21               skill, or depend on the very same law of nature
 22               or natural phenomenon.         That's what you wrote,
 23               yes?
 24       A      Yes.


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   1      Q      Okay.   Now, isn't it true that a patent claim
   2              having a unique combination of conventional steps
   3              can still be patentable?
   4                          MS. PETERSON:         Objection to form.
   5      A      Again, I have to look at the specifics of those
   6              patents.
   7      Q      But if it has a unique combination of steps, can
   8              -- I'm not asking you for a particular one.            I'm
   9              giving you a hypothetical, a general claim that
 10               has a unique combination of steps, it can be
 11               patentable, yes or no?
 12                           MS. PETERSON:         Objection.
 13       A      I have to look at the specifics.            I can't just
 14               sit here and opine on something that's
 15               hypothetical.
 16       Q      But is it possible for a patent to be issued on
 17               something that has a unique combination of steps
 18               for a method?
 19                           MS. PETERSON:         Objection.
 20       A      It's certainly possible, but doesn't mean it's
 21               valid.
 22       Q      Is it possible that a patent, a valid patent, can
 23               be issued having a unique combination of steps,
 24               hypothetically, not for the 802 patent, but


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   1              hypothetically?
   2                           MS. PETERSON:        Objection.
   3      A      Again, any hypothetical patent there's a lot of
   4              possibilities out there.          I don't know until I
   5              see the specifics --
   6      Q      Have you ever written a method, a patent claim,
   7              that was a method patent?
   8      A      I'm sure I have reviewed them.              I haven't written
   9              per se, but I've reviewed them.
 10       Q      None of your patents are method or process
 11               patents; am I correct?
 12                            MS. PETERSON:        Objection to form.
 13       A      I'm sure there are some other claims within the
 14               patent that teach a person of skill towards
 15               method.    The majority of my patents are
 16               composition of matter patents.
 17       Q      Do any of your patent claims rely on any natural
 18               laws?
 19       A      I have to look back at those documents to give
 20               you an honest opinion.
 21       Q      Okay.    So we're saying that -- going back to my
 22               previous question.       So each of the, in paragraph
 23               202, you state that the claims of the 802 patent
 24               utilize electrostatic attraction repulsion and


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   1              that they have additional steps or elements, yes?
   2      A      Yes, they do.
   3      Q      In addition to that, you mentioned that the steps
   4              are either conventional steps or those known to
   5              purchase skills of the art, yes?
   6      A      Yes.
   7      Q      What does the -- you indicated that the claims,
   8              1, 2, 6 and 7, are invalid for being directed to
   9              ineligible subject matter on the 35 USC 101.            Is
 10               the knowledge of a person of ordinary skill
 11               relevant to the matter of subject matter
 12               eligibility under Section 101?
 13                           MS. PETERSON:         Objection.
 14       A      Yes, I believe it is because it's in the analysis
 15               of invalidity for all of the different aspects.
 16               You have to consider that under the -- from the
 17               person of skill in the art and also from the time
 18               of the invention based on the priority date.
 19       Q      But under 101, under Section 101 which you've
 20               opined on, do you know that the knowledge of a
 21               person of ordinary skill is somehow in there?
 22                           MS. PETERSON:         Objection.
 23       A      Again, in my analysis, you know, I considered all
 24               of the different opinions that I provided based


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   1              on the person of skill in the art.
   2      Q      Even those under Section 101?
   3      A      All of the opinions that I provided in my expert
   4              report.
   5      Q      Okay.   Turn to page 19.
   6      A      Same exhibit?
   7      Q      Yes, please.    Would you read paragraph 44 aloud?
   8      A      Paragraph 44 states that, "I understand that a
   9              patent claim is invalid if the specification does
 10               not provide any data or other information
 11               demonstrating a substantial likelihood that the
 12               invention will work as described and claimed."
 13       Q      What is the basis of that understanding?
 14       A      Well, if you look at the patent itself, there is
 15               nothing in the patent that suggests that there's
 16               any demonstration of the fact that the
 17               compositions would actually work the way they are
 18               claimed.
 19       Q      Can you point to any place in the statute or the
 20               rules where this is written specifically?
 21                           MS. PETERSON:         Objection.
 22       A      Well, again, as I said, I'm applying the
 23               understanding of credible utility analysis in
 24               terms of the statements that I'm making on page


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   1              19, paragraph 44, that for a person of skill to
   2              be able to -- or having a patent claim that are
   3              valid, there has to be demonstration in the
   4              patent of likelihood of an invention.
   5      Q      What is the basis of that statement?
   6      A      Well, there has to be sufficient disclosure in
   7              the patent to a person of skill in the art that
   8              this is inventive, it is an invention --
   9      Q      And that's under Section 101?
 10                           MS. PETERSON:         Objection.
 11       A      Again, this is based on -- the credible utility
 12               analysis is based on Section 101 and I'm applying
 13               it specifically to the teachings of the 802
 14               patent.
 15       Q      Okay.   So now turn to page 99.
 16       A      I'm there.
 17       Q      In paragraph 212, you state that claims 1, 2, 6
 18               and 7 are invalid for lack of credible utility,
 19               yes?
 20       A      Yes.
 21       Q      Now, you have a copy of, I think it was P8, was
 22               it, which is 35 USC 101?
 23       A      Yes.
 24       Q      Isn't it true from reading that, that Section 101


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   1              requires that an invention must be new and
   2              useful?    Take a look at Exhibit 8.
   3      A      Yes.    It says new and useful process and machine
   4              manufacturer --
   5      Q      That the invention needs to be new and useful.
   6                           MS. PETERSON:        Objection.
   7      Q      Isn't it true that a formulation that actually
   8              inhibits infection due to inhalation of harmful
   9              particles is useful?
 10                            MS. PETERSON:        Objection.
 11       A      That formulation if it was actually --
 12       Q      No, but --
 13       A      -- the teaching of the 802 would be useful but
 14               it's not.
 15       Q      Okay.    Now, in paragraph 214 you complain that
 16               there's no credible utility for claims 1, 2, 6,
 17               or 7 under 35 USC Section 112 because the 802
 18               patent "Does not include any data or test results
 19               for any of the formulations described" to
 20               demonstrate that they will work as claimed.
 21               Isn't it true that no statute or rule
 22               specifically required such data or test results
 23               for patentability?
 24                            MS. PETERSON:        Objection.   Misstates


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   1              the work.
   2      A      My opinion is that the 802 patent doesn't teach
   3              to a personal skill in the art specific
   4              composition that enables the claim.
   5                          MR. KREMEN:        Objection, non-responsive.
   6      Q      You said that you're familiar with the patent
   7              prosecution.    Now, in terms of patent
   8              prosecution, you have to comply with certain
   9              rules, certain statutes.          Is there any kind of
 10               rule that you are familiar with that specifically
 11               requires that such data or test results to be
 12               present?
 13                           MS. PETERSON:         Objection, form.
 14       A      Well, the patent -- in the totality of the patent
 15               it has to teach a person or skill that when you
 16               are claiming certain elements, those elements are
 17               actually going to be met by the specification of
 18               the patent.
 19       Q      Okay.
 20       A      802 does not.
 21                           MR. KREMEN:        Can I have a copy of 112.
 22
 23                           (Whereupon,        35 USC 112, was marked as
 24                           Exhibit No. 9.)


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   1      Q      This is Exhibit 9.
   2                          MS. PETERSON:          Stan, is this even --
   3              actually, I object to Exhibit 12 (sic).               This
   4              isn't even the proper version of the statute.
   5                          MR. KREMEN:         No.     I'm going to just
   6              tell what it really is.           All I did was I -- this
   7              is not the entire 112.          This is just Sections A
   8              and B.
   9                          MS. PETERSON:          Yes, but it's from the
 10               wrong version.     This version of the statute
 11               doesn't apply to the patent at issue in this
 12               case.
 13                           MR. KREMEN:         Okay.       All right.
 14       Q      Are you familiar with the written description
 15               requirement of 112?        Because you quoted 112 here,
 16               are you familiar with the written description
 17               requirement?
 18       A      Yes, I am.
 19       Q      Isn't it true that the written description
 20               requirement of Section 112A only requires that a
 21               person of ordinary skill in the art will be able
 22               to make and use the invention?
 23                           MS. PETERSON:          Objection.
 24       A      As I stated in paragraph 46 of my expert report,


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   1              the written description requirement, objectively
   2              demonstrate a person of skill in the art that the
   3              patent applicant actually invented or possessed
   4              the full scope of the claim.
   5      Q      That's the written description requirement,
   6              according to you?
   7      A      That's the -- based on my understanding of the
   8              written description requirement is that it
   9              requires that the applicant possessed, or had in
 10               possession, based on the full scope of the claim.
 11       Q      Isn't it true that the enablement requirement of
 12               112 applies only to the written description and
 13               not to the claims?
 14                           MS. PETERSON:         Objection.
 15       A      No.   The enable requirement also would be applied
 16               too based on the fact that undue experimentation
 17               was necessary by a person of skill in the art to
 18               enable the claim -- the full scope of the claim.
 19       Q      But it's the written description that it pertains
 20               to, not to the claims.
 21                           MS. PETERSON:         Objection, ambiguous.
 22       A      Well, I review the patent claims and then I
 23               review the specification in my analysis to see
 24               where I can find support in the patent for both


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   1              written description and enablement.
   2      Q      Have you ever read 35 USC 112?
   3      A      I'm familiar with it.        That's the code or section
   4              112 is what I'm applying for all of the analysis
   5              that I've done for invalidity.
   6      Q      So you're applying to the first paragraph in 112
   7              as far as -- because the second paragraph of 112
   8              says nothing about person of skills of the art
   9              being able to make them and use the invention.
 10               It's only in the first paragraph.
 11                           MS. PETERSON:         Objection.
 12       A      Well, I'm applying based on my understanding and
 13               what I've been provided by counsel in terms of
 14               the standards, I'm applying those standards in my
 15               analysis.
 16       Q      Do you have a copy of the standards that you've
 17               been provided by counsel?
 18       A      I have provided that information in my expert
 19               report.
 20       Q      When counsel gave it to you, how was it
 21               communicated?
 22       A      We discussed the standards, and then
 23               subsequently, I applied those standards in my
 24               analysis.


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   1      Q      It was verbal?
   2      A      I'm not sure exactly, you know, the specifics of
   3              the transmission.      Initially, it was verbal
   4              discussion and then, of course, it came in the
   5              report.
   6      Q      So were you given a document with the standard?
   7      A      No, I have not seen the document.           I discussed
   8              the standards and I certainly opined on many
   9              other cases as specifically related to both the
 10               obviousness and non-obviousness analysis as well
 11               as the 112 written description enablement and
 12               definite analysis.
 13       Q      So you don't know at this point, am I correct,
 14               that you don't know whether section 112 requires
 15               that test results that would demonstrate to a
 16               person skilled in the art that there's a
 17               substantial likelihood that the claim will
 18               eventually work, at this point you don't know
 19               whether 112 provides that; am I correct?
 20                           MS. PETERSON:         Objection.
 21       A      Well, what I know is that for written
 22               description, the applicants of the patent should
 23               have sufficient disclosure, sufficient
 24               description in the patent, to inform a person or


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   1              skill that they were in possession of the full
   2              scope.
   3      Q      Okay.   But does that demand testing?
   4                          MS. PETERSON:         Objection.
   5      A      Well, it demands the fact that there's enough
   6              description in the patent, enough disclosure,
   7              that the person of skill can understand that the
   8              patentee possess the full scope.
   9      Q      That's not what I asked.          Does it require
 10               testing?
 11                           MS. PETERSON:         Objection.
 12       A      Again, I'm not saying that there has to be a
 13               specific testing, but what I'm saying is that
 14               there has to be sufficient disclosure in the
 15               patent for a person of skill to know that the
 16               patentee had full scope -- had possessed the full
 17               scope of the claims.
 18       Q      Okay.   Regarding patent claiming invalidity, do
 19               you understand the difference between claim
 20               anticipation on the 35 USC Section 102 and
 21               obviousness under Section 103?
 22                           MS. PETERSON:         Objection.
 23       A      I understand the differences between based on the
 24               analysis that I've done in this case related to


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   1              the 802 patent.
   2      Q      So you do understand the difference between
   3              anticipation and obviousness then?
   4                          MS. PETERSON:         Objection.
   5      A      Again, in the context of when I'm looking at it
   6              as a technical expert.
   7      Q      Now, wouldn't you agree that for a claim to be
   8              anticipated, a single prior art reference must
   9              encompass every element in that claim?
 10                           MS. PETERSON:         Objection.
 11       A      Yes. That's the standards that you apply for
 12               anticipation.
 13       Q      Wouldn't you also agree that for a claim to be
 14               obvious over prior art, in Section 103, a
 15               combination of prior art references must be used
 16               to encompass every element of the claim?
 17                           MS. PETERSON:         Objection.
 18       A      That's my understanding.          And again, for
 19               obviousness analysis, the prior art can be
 20               combined in order to then come to all the
 21               elements of the claim.
 22       Q      So the combination must produce all the elements
 23               of the claim?
 24                           MS. PETERSON:         Objection.


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   1      A      Must provide evidence to a person of skill in the
   2              art with reasonable expectation of success.
   3      Q      And that is a difference between anticipation
   4              requiring a single reference that's going to do
   5              everything and a combination of references, which
   6              in other words, anticipation is all done with one
   7              -- am I correct in terms of your understanding
   8              that anticipation requires only once a single
   9              reference and obviousness requires a combination
 10               of references; is that your understanding?
 11       A      That's generally where -- and that's the analysis
 12               that I've done, that for a claim to be invalid,
 13               it is anticipated by a single item of prior art.
 14       Q      Okay.   So you would agree that if a single prior
 15               art reference does not encompass every element of
 16               the claim, that claim cannot be invalid over that
 17               single prior art reference alone; am I correct?
 18                           MS. PETERSON:         Objection.
 19       A      Only under the anticipation argument, but it can
 20               certainly be invalid based on the obviousness
 21               argument.
 22       Q      How?
 23                           MS. PETERSON:         Objection.
 24       A      Again, if that prior art is combined with other


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   1              prior art in order to arrive --
   2      Q      But -- okay.   You just previously said that in
   3              order to anticipate something, you have to have a
   4              single reference that encompasses all the
   5              elements of the claim.         If it doesn't encompass
   6              all of the elements of the claim, can it be used
   7              alone to invalidate the claim?
   8                           MS. PETERSON:        Objection.
   9      A      Again, if it is single prior art document, and
 10               the argument is only anticipation, it cannot, but
 11               if that single document is combined with other
 12               documents, then certainly claims could be
 13               obvious.
 14       Q      But it's not combined with other documents, and
 15               it doesn't encompass all the elements of the
 16               claim, can it be used alone without any
 17               combination, can it be used alone just to
 18               invalidate a patent?
 19                            MS. PETERSON:        Objection.
 20       A      Not alone.    If it doesn't meet all the claim
 21               elements, it has to --
 22       Q      Okay.
 23       A      You have to have all the claim elements met.
 24       Q      Good, okay.    That's -- I just wanted to


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   1              understand what you were looking at.
   2                          Now, isn't it true, that if for some
   3              reason it's impossible to combine two or more
   4              references, the combination of those references
   5              cannot render a claim invalid?
   6                          MS. PETERSON:         Objection.
   7      A      I'm not sure what that means to not be able to
   8              combine.
   9      Q      Well, there are certain things that can't be
 10               combined no matter what you're doing.          Well, let
 11               me ask you, hypothetically, if a claim has
 12               elements A and B, and you have one reference that
 13               has A and the second reference that has B, is it
 14               always possible to combine the two references to
 15               produce the claim?
 16                           MS. PETERSON:         Objection.
 17       A      Again, from a person of skill in the art
 18               reviewing the patent, the analysis that is done
 19               in these types of cases is I would look at the
 20               expectation of success.
 21       Q      I don't understand.       Could you clarify that,
 22               please?
 23       A      So in order to understand the analysis, I would
 24               basically look at the claim language in my case


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   1              and for the 802 patent, look at the specification
   2              and what the specification teaches, and then see
   3              if back in the priority date, what was the
   4              general knowledge in the field and what was the
   5              available references that teach towards what the
   6              person of skill would know.
   7      Q      Isn't a true that you have to have specific
   8              references to be able to invalidate a patent
   9              under 102 and 103, which is the prior art
 10               statutes?
 11                           MS. PETERSON:          Objection to form.
 12       Q      I'm sorry, I'll rephrase.           Isn't it true that for
 13               anticipation or obviousness, you must have
 14               specific references, specific prior art
 15               references, to be able to invalidate it?
 16                           MS. PETERSON:          Objection.
 17       A      Yes.
 18                           MS. PETERSON:          Stan, we've been going
 19               like an hour, over an hour.
 20                           MR. KREMEN:         Do you want to take a
 21               break?   Okay.
 22                                  (Brief Recess)
 23               BY MR. KREMEN:
 24       Q      Now, isn't it true that if a prior art reference


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   1              is not enabled, it can't be used to anticipate a
   2              claim?
   3                           MS. PETERSON:        Objection.
   4      A      I'm not sure I understand the question.           The
   5              prior art reference itself is not enabled?
   6      Q      Right.    In other words, not necessarily an issue
   7              patent is anything.       If the prior art reference
   8              is not enabled, you can't figure out how to make
   9              it, use it, or whatever, if it's not enabled, it
 10               can't be used as a reference to anticipate a
 11               claim?
 12                            MS. PETERSON:        Objection.
 13       A      Again, when I reviewed all the prior art that
 14               I've relied on for my opinions in this case, I
 15               found the inventions to be enabled.
 16       Q      Okay.    So you actually found all of the prior art
 17               in this case that you use to be enabled, correct?
 18       A      Based on my understanding of the enablement
 19               standards that have applied in this case.
 20       Q      So in other words, on each of the prior art
 21               references that you looked at, that a person of
 22               ordinary skill in the art would be able to make
 23               and use that invention; is that correct?
 24                            MS. PETERSON:        Objection.


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   1      A      Again, based on what I've looked at as far as my
   2              obviousness analysis of the 802 patent claims, in
   3              the review of the prior art documents that I've
   4              relied on in order to tell a person of skill in
   5              the art what the claims of the 802 patent are
   6              specifically addressing, I found those documents
   7              to be valid.
   8      Q      Was any prior art given to you by counsel or did
   9              you find it all on your own?
 10       A      I believe we discussed, and maybe the documents
 11               were provided, I didn't go out and search
 12               specific documents, but I did discuss with
 13               counsel the specific matter itself that are
 14               taught on this prior art, and obviously the
 15               opinions that I'm providing are all mine.
 16       Q      So did you find any of the prior art on your own?
 17       A      I may have.   For example, the Wahi 488 and 481, I
 18               may have seen them before.
 19       Q      What about Wadstrom?
 20       A      Wadstrom, also I've seen them before.
 21       Q      And Rolf?
 22       A      Yes.
 23       Q      And where did you se those before?
 24       A      I saw it as an expert on a prior matter between


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   1              Trutek and Matrix.
   2      Q      Did counsel give you any of those references, the
   3              prior art references?
   4                          MS. PETERSON:         Objection.
   5      A      The documents itself, maybe, you know, maybe
   6              provided by counsel through an email, but all the
   7              opinions that I'm providing are mine.          I reviewed
   8              those prior art myself.
   9      Q      But the documents would have been provided to you
 10               by counsel?
 11                           MS. PETERSON:         Objection.
 12       A      Yes, some of the documents, certainly.          I didn't
 13               go out and search for every one of them.
 14       Q      Did you run any search yourself for prior art?
 15       A      I don't recall searching specifically, but I do
 16               recall looking at the documents and looking at
 17               data to patent and being able to do the analysis.
 18               The analysis is all mine and the opinions are all
 19               mine.
 20       Q      Now, you've expressed some of these opinions
 21               before in another case; am I correct?
 22       A      Sorry.   Which other case?
 23       Q      (Indiscernible ) case.
 24       A      Yes.


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   1      Q      Did you use some of the same prior art in this
   2              case as you used in the Matrix case?
   3      A      Some of them, yes, but they're also few
   4              additional ones that are here.              For example,
   5              Baker patents, as well as Rabe, Katz, those were
   6              not -- we did not use that in the Matrix case.
   7      Q      Did you find those yourself or did counsel
   8              provide them to you?
   9      A      No.   Again, based on the information that -- the
 10               documents were provided, but I reviewed the
 11               documents myself and opinions that I provide in
 12               my report are all mine.
 13       Q      Did you search for any of those yourself?
 14       A      No, I did not search for them myself.
 15       Q      In terms of the Baker patents -- well, first of
 16               all, in terms of the other patents, the Wadstrom
 17               patent, Rolf, and the ones you used in the Matrix
 18               case, did you search for them yourself or were
 19               they given to you?
 20       A      For this case or the Matrix?
 21       Q      The other case.
 22       A      Again, I think that we, you know, for that
 23               counsel and I had discussions and some of those
 24               documents were provided to me.


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   1      Q      Okay.    And the Baker patents were provided to you
   2              in this case during the discussion with counsel?
   3                           MS. PETERSON:         Objection.
   4      A      Yes. Again, I didn't go out and actually download
   5              the files.
   6      Q      Okay.    Did you know about them beforehand, the
   7              Baker patents?
   8      A      Yes.
   9      Q      You knew about the Baker patents, how did you
 10               know about them?
 11       A      So I am familiar with the Nano motion technology
 12               based on the fact that Dr. Baker was a professor
 13               at University of Michigan and he and I, we were
 14               part of the Alliance for Nano technology in
 15               cancer.
 16       Q      That's very interesting.           My compliments on that.
 17               Okay.    Now, you also generated a report.         Let's
 18               see, this is Exhibit Number 6, which is a
 19               Responsive Report of Mansoor M. Amiji, Ph.D. on
 20               Non-Infringement.       You also generated this report
 21               with your opinions at BlueWillow NanoBio Protect
 22               product does not infringe the claims of the 802
 23               patent; is that correct?
 24       A      Yes, it does.


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   1      Q      Okay.    Does this report contains all of your
   2              opinions supporting BlueWillow's allegations that
   3              its NanoBio Protect products do not infringe the
   4              claims of the 802 patent?
   5      A      It has all the opinions as of today, but as I
   6              said before, if there's anything new that the
   7              plaintiff's experts are able to provide, then
   8              I'll need to submit another report or we'll have
   9              rebuttal opinions.
 10       Q      As of today, from what I understand, all of the
 11               reports had been submitted because there was a
 12               deadline of September 29th.            As of today, all of
 13               the opinions that are rebutting any of the
 14               reports or anything, you completely put your
 15               opinions in all of your reports; am I correct?
 16                            MS. PETERSON:        Objection.
 17       A      Yes, as of today.
 18       Q      As of today, okay.      Now, on pages 14 through 18
 19               of this report, you criticize the testing of
 20               electrostatic charge by Dr. Alexei Ermakov and
 21               Shane Burns as long as Dr. Lemmo's -- and also
 22               Dr. Lemmo's reliance on these reports; is that
 23               true?
 24       A      Yes, I do.


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   1      Q      Paragraph 39 of page 15, you wrote, "A person of
   2              ordinary skill in the art reviewing the Ermakov
   3              and Burns testing would not understand the test
   4              results to establish that NanoBio Protect
   5              satisfies the claim limitations and/or infringes
   6              the asserted claims of the 802 patent."
   7                           You wrote that, yes?
   8      A      Yes, I did.
   9      Q      Could you explain that, please?
 10       A      Well, first of all, the tests that both
 11               Dr. Ermakov and Mr. Burns did are not described
 12               in the patent.     Second, these tests do not
 13               provide any evidence as to the fact that the
 14               NanoBio Protect product satisfies all of the
 15               claim limitations.
 16       Q      Specifically, what is your objection -- what did
 17               Dr. Ermakov and Mr. Burns testing show?
 18                            MS. PETERSON:         Objection.
 19       A      I'm not even sure what they -- it's a test.            Both
 20               of them just concocted a test.
 21       Q      Did you understand their test methodology?
 22                            MS. PETERSON:         Objection.
 23       A      I understand what they did, but I don't
 24               understand how -- whatever data that they


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   1              obtained could be applied to the claims of data
   2              to --
   3      Q      What did they do?
   4      A      Well, Dr. Ermakov took a piece of paper and
   5              sprayed the composition and then measured
   6              conductivity.
   7      A      That is your understanding of what he did?
   8                          MS. PETERSON:         Objection.
   9      A      That is what's in his report.
 10       Q      What did Mr. Burns do?
 11       A      Well, Mr. Burns took a dry piece of pigskin and
 12               again, sprayed some compositions and measured
 13               conductivity.
 14       Q      How did he measure that?
 15       A      He used a Faraday cup.
 16       Q      What does a Faraday cup measure?
 17       A      Again, it basically allows you to pass current
 18               through a material and see if the current can
 19               pass through and use an equation to come up with
 20               some charge value.
 21       Q      And what is that equation?
 22       A      It's in his report.       I mean --
 23       Q      Are you familiar with the general technology?
 24       A      I'm familiar with what they did, but it's nothing


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   1              to do with the teaching of data too or --
   2      Q      That's not what --
   3      A      -- the infringement analysis.
   4      Q      That's not what I'm asking.            I'm asking are you
   5              familiar with the technology?
   6      A      I am familiar with what they did in terms of
   7              measuring conductivity, yes.
   8      Q      How would you measure electrostatic charge on a
   9              surface?
 10                           MS. PETERSON:         Objection.
 11       A      Well, it depends on what type of surface.            And
 12               first of all, it has to be relevant to the
 13               teaching of the patent in suit.
 14       Q      Pick a particular surface that you think is
 15               relevant, how would you measure the electrostatic
 16               charge?
 17                           MS. PETERSON:         Objection.
 18       A      Well, you know, one way that we do in our lab is
 19               what's called a zeta potential measurement, which
 20               looks at the surface charge of a particle and
 21               gives you actually millivolts of charge.
 22       Q      So essentially what you're doing is you're
 23               measuring voltage in this particular case, not
 24               number of coulombs; am I right?


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   1      A      We can measure specifically the charge on the
   2              surface of a particle with the instrument that we
   3              have.    But again, it's contact specific.         We are
   4              looking at it in the form of a particle.           Here,
   5              you're talking about surfaces.
   6      Q      What is the cationic agent?
   7      A      A cationic agent would be one where it could
   8              either be permanently charged, or it could be
   9              charged depending on the pH of the solution, but
 10               the charge will be positive.
 11       Q      Okay.    So it's a chemical substance that exhibits
 12               a positive charge; is that correct?
 13                            MS. PETERSON:        Objection.
 14       A      Under different conditions, yes.
 15       Q      Well, what conditions would it not exhibit a
 16               positive charge?
 17       A      Well, if the pH is such that the charge is
 18               neutralized, or it's not in water.
 19       Q      Cationic agents have to be in water in order to
 20               be effective, correct?
 21                            MS. PETERSON:        Objection.
 22       A      They have to have some presence of moisture or
 23               water around it to be able to exert the charge.
 24       Q      Isn't it true that benzalkonium chloride is a


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   1              cationic agent?
   2      A      Benzalkonium chloride is a cationic, yes.
   3      Q      NanoBio Protect contains benzalkonium chloride,
   4              right?
   5      A      It has .13 percent of benzalkonium chloride, yes.
   6      Q      And you're aware that BlueWillow claims on its
   7              website that NanoBio Protect exhibits an
   8              electrostatic charge?
   9                          MS. PETERSON:         Objection.
 10       A      Well, the website information is certainly not a
 11               scientific, it's just a promotional material.             It
 12               does say on the website that their product has
 13               electrostatic charge based on the benzalkonium
 14               chloride.
 15       Q      So if BlueWillow claims that their product has an
 16               electrostatic charge, do you doubt their claim?
 17                           MS. PETERSON:         Objection.
 18       A      No, I'm not doubting the claim, but it's a
 19               promotional material.         It's not a scientific
 20               publication.    It's not peer reviewed.
 21       Q      But it is in fact true, isn't it, that it does
 22               contain an electrostatic charge?
 23                           MS. PETERSON:         Objection.
 24       A      Again, BlueWillow product, based on my


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   1              understanding, is a nanoemulsion and the charge
   2              is on the surface of the oil droplet.
   3      Q      So nano emulsions in themselves, whether they
   4              contain benzalkonium chloride or not, are they
   5              charged, the nano droplets?
   6                           MS. PETERSON:        Objection.
   7      A      Again, it depends on how you make the
   8              nanoemulsion.
   9      Q      What prevents the nano droplets from coalescing
 10               into a single -- what keeps them as droplets?
 11       A      There a number of ways you can prevent the
 12               aggregation or coalescence of the droplet.            You
 13               can prevent by what's called steric repulsion or
 14               you can --
 15       Q      I didn't catch that.
 16       A      Steric repulsion.
 17       Q      Okay.
 18       A      Or you can prevent by electrostatic repulsion.
 19       Q      What is steric repulsion?
 20       A      In steric repulsion, you are putting on the
 21               surface of the droplet specific types of material
 22               that basically extend from the surface and keep
 23               two droplets from aggregating or coming in short
 24               distance of each other.


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   1      Q      Now, with the fact that nano droplets, or the
   2              nanoemulsion, contains benzalkonium chloride,
   3              this is electrostatic repulsion; am I right?
   4                          MS. PETERSON:         Objection.
   5      A      Again, if the benzalkonium chloride is displayed
   6              on the surface of the oil, then it will have
   7              positive charge, the oil droplet will have
   8              positive charge.
   9      Q      So the product would have a positive
 10               electrostatic charge because of the benzalkonium
 11               chloride; true?
 12       A      Again, if the oil droplet is made in such a way
 13               that the benzalkonium chloride is exposed to the
 14               surface, the nitrogen on that benzalkonium
 15               chloride is accessible to water that surrounds
 16               the oil, and subsequently, the pH and all the
 17               other conditions as such, that the ammonium ion
 18               is ionized.
 19       Q      Okay.   Now, isn't it true that germs are
 20               negatively charged?
 21                           MS. PETERSON:         Objection.
 22       A      It depends on the germ.
 23       Q      Do you know of any that are positively charged?
 24       A      Again, it depends on, you know, specific


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   1              conditions in which some germs, I don't know, I
   2              have to see which germs you are talking about.
   3      Q      Do you know of any germs, microorganisms, that
   4              are positively charged, any of them?
   5      A      Well, they can acquire different types of charge
   6              depending on the environment that they're in.             If
   7              you have a bacteria, for example, in solution of
   8              water, you could certainly have some of the ions
   9              from that solution absorbable under the bacteria.
 10               I don't know what you know mean by natural
 11               organisms.
 12       Q      All right.    I'm going to give you a copy of this
 13               page.
 14
 15                            (Whereupon, NanoBio Droplet Document,
 16                            was marked as Exhibit No. 10.)
 17
 18       Q      I want you to assume for argument's sake at this
 19               point, that this is a page that was taken as a
 20               copy of from the BlueWillow website.          And if you
 21               look at the very bottom of the page, you'll
 22               notice it says https://bluewillow.com/nanobio-
 23               protect and then there's a date given of February
 24               7, 2021 at 4:40 p.m.        So I'd like you to assume


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   1              that this was taken from the BlueWillow website,
   2              that is a true copy.
   3      A      Okay.
   4      Q      Now, would you look at item number one at the top
   5              of the page.    First of all, let's start at the
   6              beginning.    Would you read the first paragraph on
   7              that?
   8      A      The first paragraph of this Exhibit 10 says, "The
   9              unique effectiveness of NanoBio Protects is
 10               derived from BlueWillow's patented nano
 11               technology.    NanoBio Protect places the BZK
 12               antiseptic on the surface of nano droplets, which
 13               results in at least four key advantages."
 14       Q      Now, you realize that BZK is BlueWillow's
 15               abbreviation for benzalkonium chloride; am I
 16               correct?    You know that?
 17       A      Yes.
 18       Q      Now, read the item number one.
 19       A      "The nano droplets are attracted to germs by
 20               electro-kinetic charge and present the BZK in
 21               such a way to enable killing of germs on
 22               contact."
 23       Q      Now, would you call that electrostatic
 24               attraction?


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   1                          MS. PETERSON:         Objection.
   2      A      Well, they use the term electro-kinetic charge,
   3              but the attraction is, at least based on this
   4              document, suggests that the germs attracted by
   5              electrostatic charge.
   6      Q      Now, read number two on that page.
   7      A      "The droplets persist on skin for four or more
   8              hours, enabling long lasting effectiveness."
   9      Q      Now, what does that really mean?
 10                           MS. PETERSON:         Objection.
 11       A      To say that if you apply this to the skin, these
 12               droplets will stay there for four hours or more.
 13       Q      What form do they take?
 14       A      The droplets?
 15       Q      Yes, on the skin.
 16                           MS. PETERSON:         Objection.
 17       A      I don't know.    I haven't really tested any of
 18               these products to know what form they take.
 19       Q      Well, any liquid, if a liquid sticks to your
 20               skin, does it form a film on the skin?
 21                           MS. PETERSON:         Objection to form.
 22       A      Well, in this case, it's a nanoemulsion that
 23               they're spraying on the skin.              So it could easily
 24               remain as individual droplets assuming if those


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   1              droplets are well stabilized.
   2      Q      But the individual droplets, if they're sticking
   3              to the skin, it forms a film; doesn't it?
   4                          MS. PETERSON:         Objection to form.
   5      A      Well, if the droplets are stabilized to remain as
   6              individual droplets, then they will basically
   7              spread on the skin as droplets.
   8      Q      Now, isn't it true that benzalkonium chloride is
   9              also a biocide, right?
 10       A      It's a biocide, specifically at concentrations
 11               and as long as high concentrations are used, it
 12               can induce by acidic effects.
 13       Q      Okay.   You see the drawings on the page, on
 14               Exhibit 10.   Could you read inside the box, could
 15               you read what it says there?
 16       A      Sure.   It says, "Droplets surround and kill germs
 17               via membrane disruption."
 18       Q      Okay.   How does it do that?
 19                           MS. PETERSON:         Objection to form.
 20       A      Well, again, I don't know exactly -- I have not
 21               analyzed any peer reviewed documents from NanoBio
 22               Protect to know the nature, but from this
 23               diagram, it suggests that the nanoemulsion
 24               droplets are able to sequester around the germ.


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   1      Q      Okay.   So they hold it in place, they hold inside
   2              the droplets then?
   3                          MS. PETERSON:         Objection to form.
   4      A      Again, I'm just looking at this diagram, and what
   5              it's saying is that these nanoemulsion droplets
   6              are sticking to the, assuming this is a bacteria
   7              that they're sticking to.
   8      Q      What do you think the role of benzalkonium
   9              chloride in terms of the ability to kill the
 10               germs, what is the role of the benzalkonium
 11               chloride?
 12       A      Well, again, it depends how benzalkonium chloride
 13               is surface exposed on these droplets, then it
 14               will interact with the membrane of the bacteria
 15               or virus, whatever that germ is.
 16       Q      Did you review the NanoBio Protect product itself
 17               when you formed an opinion of non-infringement?
 18                           MS. PETERSON:         Objection to form.
 19       A      I reviewed whatever documents that I'm describing
 20               in my expert reports, those are the documents I
 21               have reviewed and specifically related to the
 22               NanoBio Protect product.
 23       Q      What documents related to the NanoBio Protect did
 24               you review, specifically to the NanoBio Protect?


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   1              According to the applicable law, do you know what
   2              such a person needs to be?
   3                          MS. PETERSON:         Objection.
   4      A      You're asking specifically on Exhibit 6?
   5      Q      Yes.   I mean, if you know.
   6      A      Yes.   I'm familiar with the application of a
   7              person of ordinary skill in the art, that person,
   8              he or she, is based on the subject matter of the
   9              patent. Would the person -- it would be a
 10               hypothetical person who at the time of the
 11               invention would be considered to have knowledge
 12               and skills related to the art that's been taught
 13               in that patent.
 14       Q      What is the difference between a person having
 15               ordinary skill in the art and a person having
 16               extraordinary skill in the art?
 17                           MS. PETERSON:         Objection, vague.
 18       A      I'm not --
 19                           MR. KREMEN:        No speaking objections.
 20                           MS. PETERSON:         That's not a speaking
 21               objection, Stan.
 22       A      I'm not familiar with some of the further detail.
 23               What I've done is apply, based on my
 24               understanding of a person of ordinary skill in


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   1              the art, he or she at the time of the invention,
   2              based on the knowledge and skills that they would
   3              have, their interpretation of the matter that
   4              starting this patent and patent in suit.           But I
   5              don't know about the difference between ordinary
   6              versus expert.
   7      Q      You do admit that there is a difference between
   8              someone having ordinary skill in the art and
   9              someone having extraordinary skill in the art?
 10                           MS. PETERSON:          Objection.
 11       A      I've heard the term extraordinary skill in the
 12               art, but I don't know the details of what that
 13               means.
 14       Q      Would a person having extraordinary skill of the
 15               art also be qualified as one having ordinary
 16               skill?
 17                           MS. PETERSON:          Objection.
 18       A      Again, I don't know what the definition is.            I
 19               applied -- my analysis is done based on my
 20               knowledge of a person of ordinary skill in the
 21               art.
 22       Q      Okay.   Do you consider yourself a person or
 23               ordinary skill or somebody with extraordinary
 24               skill?


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   1                          MS. PETERSON:         Objection to form.
   2      A      Based on my definition of a person of ordinary
   3              skill in the art, and based on the priority date
   4              of this patent, I would consider myself a person
   5              of ordinary skill in the art.
   6      Q      You at this point are a person of ordinary skill?
   7                          MS. PETERSON:         Objection.
   8      A      Based on the definition that I'm providing.
   9      Q      Okay.   Regarding the inventions claims recited in
 10               claims 1, 2, 6 and 7 of the 802 patent, in what
 11               business or profession would a person of ordinary
 12               skill be engaged?
 13                           MS. PETERSON:         Objection to form.
 14       A      Well, the claims are directed towards the
 15               pharmaceutical formulation and their ability to
 16               electrostatically attract and inhibit or hold the
 17               particle and then inactivate those particles in
 18               such this would be a composition where it would
 19               be a pharmaceutical formulator.
 20       Q      Pharmaceutical formulator, okay.            Now, what would
 21               be the tasks that such a person would be able to
 22               perform?
 23                           MS. PETERSON:         Objection, vague.
 24       A      Well,   based on the claim and the limitations, so


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   1              claim 1, as we discussed, is a method claim.
   2              Claim 2 is a formulation claim.            So the person
   3              would be able to formulate a composition and
   4              obviously then be able to test it to show that it
   5              meets all of the claim limitation.
   6      Q      Is this person of ordinary skill typically an
   7              inventor?
   8                          MS. PETERSON:         Objection.
   9      A      It's a hypothetical person.            I don't know if
 10               inventor is considered to be a person of skill in
 11               the art or not.     I don't know that specifically.
 12               But I know that from a perspective of analysis of
 13               invalidity and specifically related to data to
 14               claims I applied, the definition that I provide
 15               on paragraph 35 of my expert report.
 16       Q      Okay.   So you would agree that a person of
 17               ordinary skill in the art is a person who
 18               typically formulates chemical or pharmaceutical
 19               compounds, right?
 20                           MS. PETERSON:         Objection to form.
 21       A      No.   What I'm saying specifically in the context
 22               of the 802 patent and the claims, it's somebody
 23               who formulates but also has the knowledge and
 24               skills to be able to make sure that it meets the


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   1              claim limitations, which go beyond just
   2              formulation.
   3      Q      Now, on page one of your CV, it says that you're
   4              a registered pharmacist.           Can a registered
   5              pharmacist formulate pharmaceutical compounds?
   6                          MS. PETERSON:          Objection.
   7      A      Again, it depends on practice of that registered
   8              pharmacist.    Some pharmacists compound
   9              prescriptions.
 10       Q      Would you know the nature of a cationic agent and
 11               what it does?
 12                           MS. PETERSON:          Objection to form.
 13       A      Again, it depends on the person's, not just
 14               education, but also experience.             If they've been
 15               working in with cationic agents and are familiar,
 16               then they might not.
 17       Q      Okay.   Would he know the nature of biocide or
 18               biocidic agents and what it does?
 19                           MS. PETERSON:          Objection to form.
 20       A      Again, depends on, you know, what type of
 21               qualification and experiences they have.             If
 22               they've worked with biocide and are familiar,
 23               then they may know what the biocide does.
 24       Q      How about the same analysis of a thickener?


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   1      A      Again, depends on, you know, what practice.            A
   2              pharmacist working in a retail store, if they're
   3              compounding, they may know what a thickener does.
   4      Q      What about a binder?
   5      A      Again, depends on what type of binder.            If it's a
   6              binder that's using tablets, for example, retail
   7              pharmacists do not make tablets.
   8      Q      But they know what it is, they know what it does,
   9              right?
 10                           MS. PETERSON:         Objection.
 11       A      Yes.   They're in school of pharmacy.           We teach
 12               them what a binder does.
 13       Q      What about a surfactant?
 14                           MS. PETERSON:         Objection.
 15       A      Again, you know, pharmacists do learn about
 16               surfactants too.
 17       Q      Would a registered pharmacist be considered a
 18               person of extraordinary skill in the art or
 19               ordinary skill in the art?            Let me rephrase that.
 20               Would a registered pharmacist considered to be a
 21               person of extraordinary skill in the art?
 22                           MS. PETERSON:         Objection to form.
 23       A      Again, as I just testified before, I don't know
 24               the definition of an extraordinary skill in the


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   1              art.   My analysis in the context of invalidity of
   2              the 802 patents are based on what I know as a
   3              person of ordinary skill in the art.
   4      Q      So a registered pharmacist would be considered as
   5              a person of ordinary skill in the art, right?
   6                          MS. PETERSON:         Objection to form.
   7      A      Again, I define it -- I give a certain definition
   8              of person or ordinary skill in the art as someone
   9              with a master's degree in chemical engineering,
 10               pharmaceutical sciences and years of experience
 11               in pharmaceutical formulation.
 12       Q      Okay.   How many years of experience should such a
 13               person of ordinary skill have?
 14       A      It varies with the type of experience also.              If
 15               they are making formulations for topical use,
 16               they may have a few years.            But if they are
 17               somebody who is involved in other practices, they
 18               may need a little bit more experience.
 19       Q      So give me some sort of a figure of how many
 20               years of experience you would consider a person
 21               of ordinary skill in the art to have?
 22       A      Again, it depends on their expertise and what
 23               they do in their regular lives.            If they are
 24               actually making topical products, then they may


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   1              have -- they don't need a lot of experience
   2              because they have that level of skill and they
   3              may even be trained in those level of skills --
   4      Q      Now, could experience -- is it possible that
   5              experience could substitute for education?            In
   6              other words, if they don't have an advanced
   7              degree, but have a lot of experience, would that
   8              also be -- would a person of ordinary skill,
   9              would that person also be a person of ordinary
 10               skill?
 11                           MS. PETERSON:         Objection to form.
 12       A      Not in my opinion because I see a person of
 13               ordinary skill in the art having the foundation
 14               knowledge and also being able to then evaluate if
 15               the product is going to function the way it is
 16               taught in the 802 patent.           So to me, both
 17               education and    experience matter.
 18       Q      Supposing that somebody who never went to high
 19               school or college, but has been working in the
 20               field for let's say 30 years, would that person
 21               be, as a formulator, would that person be a
 22               person with ordinary skill?
 23                           MS. PETERSON:         Objection.
 24       A      In my opinion, that person, if they're given a


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   1              recipe, they can certainly make products.           But
   2              what they won't know is different ingredients
   3              perform differently, what is the right
   4              composition to make, how would this composition
   5              actually work both as a safe and effective
   6              product.
   7      Q      What if they've already done something like?
   8                          MS. PETERSON:         Objection.
   9      A      Yeah, I mean, again, these are all hypotheticals.
 10               You know, individual experience and individual
 11               qualifications would certainly be what I would
 12               review, But in the context of the analysis that I
 13               have done, you know, I define a person of
 14               ordinary skill as having these qualifications and
 15               experiences.
 16       Q      Okay.   Now, one of the things you mentioned is
 17               that the person should have a degree in chemical
 18               engineering, right?
 19                           MS. PETERSON:         Objection.
 20       Q      Like a master's degree in chemical engineering.
 21               That's in your report, right?
 22       A      Yes.
 23       Q      That was your opinion.         What specifically in
 24               chemical engineering curriculum is necessary,


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   1              what qualifications would be necessary for such a
   2              person to have?
   3                          MS. PETERSON:         Objection.
   4      A      In the context of the 802 patent, specifically,
   5              and the claims, a person with a chemical
   6              engineering would understand, for example, the
   7              issues of rheology.       When you're developing a
   8              formula, how thick or thin that formulation
   9              should be, how can it be applied.          They will also
 10               have a good understanding of compatibility
 11               between various types of chemicals that are mixed
 12               together.   Many of the chemical engineering
 13               students, especially in schools like Northeastern
 14               where I teach, are also interested in
 15               understanding some of the pharmaceutical
 16               applications.    So they will also know that these
 17               are not just products that are made, but they're
 18               made for actual human beings.
 19       Q      What is the difference between someone who is a
 20               chemical engineer and a chemist?
 21                           MS. PETERSON:         Objection.
 22       A      One is an engineer.       The other is a scientist.
 23       Q      Right, okay.   But what is the difference in what
 24               they do?


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   1                           MS. PETERSON:        Objection.
   2      A      Again, engineers solve problems based on the
   3              definition.   The scientist would understand the
   4              problem and then engineers come up with
   5              solutions.
   6      Q      Doesn't a chemical engineer concern himself with
   7              production aspects, how to make a product able to
   8              be manufactured as opposed to someone who creates
   9              a product from scratch?
 10                            MS. PETERSON:        Objection.
 11       A      No.   I think that's not true, not in my opinion.
 12       Q      Okay.   Why do you say that a person who doesn't
 13               have a master's degree in chemical engineering
 14               cannot be a person of ordinary skill in the art?
 15       A      No.   What I'm saying is it at least a master's
 16               degree in chemical engineering or pharmaceutical
 17               science or related fields.            I'm not excluding
 18               anyone. Q So you would be defining a person of,
 19                            when you say at least, a person of
 20                            ordinary skill in the art should have a
 21                            Ph.D. then?
 22                            MS. PETERSON:        Objection.
 23       A      No.   I say anyone with a master's degree, because
 24               with master's degree they would have the


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   1              requisite knowledge of not just the formulation
   2              and development, but actual characterization and
   3              application that are a part of these claims I
   4              interpret.
   5      Q      A person without that education would not have
   6              the ability to do that kind of formulation; is
   7              that correct?
   8      A      Well, somebody without having the knowledge of
   9              what exact ingredients that are necessary as well
 10               as being able to mix them in the right proportion
 11               and in the right process, and to come up with a
 12               composition that actually meets all of the claim
 13               limitations, you need both education and
 14               experience.
 15       Q      So would you say that a person of ordinary skill
 16               would be able to do that?
 17                            MS. PETERSON:        Objection.
 18       A      I applied, based on the definition that I'm
 19               providing, I applied that particular definition
 20               for a person of skill in view of the prior art in
 21               terms of my analysis.
 22       Q      What about a person who has no education, no
 23               formal education beyond a certain level, but has
 24               been doing those kinds of things for 30 years,


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   1              would that person qualify as a person of ordinary
   2              skill?
   3                          MS. PETERSON:         Objection.
   4      A      Not in my definition.        But again, the plaintiff
   5              definition is much more lower for person of skill
   6              in the art, but my definition is they need the
   7              education and they have to have experience
   8              because the claims are not just making a product.
   9              They're directed towards a product that
 10               ultimately has certain features and will function
 11               in the way that are taught in the claim.
 12       Q      What about being able to duplicate the examples
 13               that are shown in the 802 patent?
 14       A      There are no examples in the 802 patent.
 15       Q      There are not?
 16       A      No.
 17       Q      Okay.   We'll get to that afterwards.           Talk about
 18               the education, what type of courses would this
 19               kind of person with ordinary skill have taken?
 20                           MS. PETERSON:         Objection.
 21       A      Again, depends on which school they went to.
 22               Some schools have -- different schools have
 23               different courses that they offer their students.
 24       Q      What types of chemistry courses are necessary?


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   1                          MS. PETERSON:         Objection.
   2      A      General organic chemistry.           They may even take
   3              biochemistry.
   4      Q      Are these courses ever offered on an
   5              undergraduate level?
   6                          MS. PETERSON:         Objection.
   7      A      A different levels.
   8      Q      Are they -- would they be offered on an
   9              undergraduate level?
 10       A      At a much lower level, yes.
 11       Q      Would this person of ordinary skill have taken
 12               physics courses?
 13       A      Again, depends on the school and their
 14               curriculum.
 15       Q      How advanced would the physics courses need to
 16               be?
 17                           MS. PETERSON:         Objection.
 18       A      I can't speak to what courses are taught in which
 19               school.   It's a complete hypothetical.
 20       Q      Well, doesn't a first or second semester graduate
 21               course -- first or second semester undergraduate
 22               course in physics teach electrostatics --
 23                           MS. PETERSON:         Objection.
 24       Q      -- that opposite charges attract and light


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   1              charges repel?
   2      A      Yes.    No, electrostatics are well known to
   3              students, but this is not just about
   4              electrostatic.     The     patent and the claims are
   5              directed towards creating a composition that
   6              ultimately inhibits infection.              If you look at
   7              the specification of the patent, it talks about
   8              stopping anthrax.
   9      Q      Okay.    What would you call a person who has not
 10               the level of education that you indicated, but
 11               that has been making those kinds of -- working on
 12               that kind of formulation for 30 years, what would
 13               you call that person?          Would you call that person
 14               of ordinary skill?
 15                            MS. PETERSON:         Objection.
 16       A      Again, I don't know exactly what, you know, that
 17               hypothetical person has done as far as education
 18               or what type of field they're working on, what
 19               experience they have.          So until I see the
 20               qualifications and experience, I can't really
 21               tell.    But what I'm opining on is a person of
 22               skill based on the qualification and experiences
 23               in my report.
 24       Q      All right.     You do realize that a person of


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   1              ordinary skill in the art is a hypothetical
   2              person; don't you?
   3      A      Yes.
   4      Q      So we're dealing with a hypothetical person over
   5              here, and you're telling me that you don't know
   6              what characteristics that a hypothetical person
   7              would have to have.       In other words, whether it
   8              would be experience or education.            Can you have
   9              experience without the education?
 10                           MS. PETERSON:         Objection to form.
 11               Asked and answered.
 12       A      Again, this is my definition that I'm applying in
 13               my opinion.   I think, you know, the plaintiffs
 14               have made their definition.            At one point, as we
 15               move towards this litigation, the court will
 16               decide which one to adopt.
 17       Q      What is your basis for making that decision, that
 18               definition?
 19       A      Well, based on my review of the patent and what
 20               the patent is teaching, I believe the patent is
 21               not just teaching towards a composition.            It's
 22               teaching towards a utility, and this utility
 23               involves applications to prevent infection.            So a
 24               person of skill has to have knowledge of what


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   1              actually can prevent infection, like what can
   2              stop anthrax, what can stop Coronavirus.             That's
   3              what the patent, the specification is teaching.
   4      Q      But if he has experience in working on that time
   5              of rheology, does he does need -- and he has
   6              experience of that, does he still need that level
   7              of education?
   8                          MS. PETERSON:         Objection.
   9      A      Again, they have to have some knowledge of both,
 10               formulation, development, and application towards
 11               all of the different facets that are taught in
 12               the patent.
 13       Q      But suppose you have a person like that, who has
 14               the experience with that, but not having the
 15               education, would that person be a person of
 16               ordinary skill?
 17       A      And this is my definition.           This is the
 18               definition that I'm opining on, and this is the
 19               definition that I use in my analysis.             You know,
 20               if the court adopts a different definition, we
 21               will address those issues then.            But right now,
 22               this is the definition I've applied.
 23       Q      Would a person of ordinary skill have taken
 24               courses in biology?


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   1                           MS. PETERSON:        Objection.
   2      A      Yes.    For students who are doing master's,
   3              certainly they have taken courses in biology,
   4              both chemical engineering as well as
   5              pharmaceutical sciences students.
   6      Q      What are the minimum requirements of biology
   7              courses necessary for a person of ordinary skill
   8              to have taken under this -- for this test?
   9                           MS. PETERSON:        Objection.
 10                            MR. ALTMAN:       Liane, what's the nature
 11               of your objection?
 12                            MS. PETERSON:        Oh, so now you want me
 13               to say that?
 14                            MR. ALTMAN:       When I want it, I'll ask
 15               for it.    So can you tell me what the nature of
 16               the objection is?
 17                            MS. PETERSON:        I think the question is
 18               vague and ambiguous and I think it's an
 19               incomplete hypothetical and I could keep going.
 20                            MR. ALTMAN:       Okay.
 21       A      I'm sorry, can you repeat the question?
 22       Q      Okay.    What are the minimum requirements of
 23               biology courses necessary for a person of
 24               ordinary skill to have under his belt?


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   1                          MS. PETERSON:          Objection.
   2      A      It varies with the curriculum of the school that
   3              they go to.   Typically, in a general biology one
   4              and two is what students do take, both at the
   5              bachelors level, and then if they come to the
   6              master's program, they take some advanced biology
   7              courses.
   8      Q      Now, a person who -- would a person           who has your
   9              level of education, but does not have the skill
 10               of doing pharmaceutical formulation, would that
 11               person also be a person of ordinary skill?
 12       A      No.   My definition is that they will have several
 13               years of experience.         Once they have those
 14               experiences, that's how they acquire a skill.
 15       Q      Now, when you say several, how many years?
 16       A      As I said, it depends on, you know, the
 17               qualification.     If somebody has a Ph.D, they may
 18               not need many years, but if they have a master's
 19               degree, they may need a little bit more.
 20       Q      Would they need ten years of experience?
 21       A      Again, this is a hypothetical person and what I'm
 22               relying on in my analysis is the definition that
 23               I'm providing here.
 24       Q      Would they need more than one year experience?


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   1      A      It depends on the individual and what they -- you
   2              know, but I would say based on my analysis, I use
   3              this definition of a person with a master's
   4              degree in chemical engineering or pharmaceutical
   5              science or related field and several years of
   6              experience.
   7      Q      Okay.   So it would be more than one year, right?
   8                           MS. PETERSON:        Objection.
   9      A      Again, based on my definition.
  10      Q      Is that yes?
  11      A      It depends on the degree of, you know, if it's at
  12              least a master's degree, but sometimes if they
  13              have a Ph.D degree, then they may need a little
  14              bit less.
  15      Q      But can it be less than one year, six months
  16              maybe?
  17      A      Could be.    Again, depends on the person.         Again,
  18              this is the definition that I've applied in my
  19              analysis.
  20      Q      Could a person having a master's degree in
  21              chemical engineering have no experience and still
  22              be a person of ordinary skill?
  23                           MS. PETERSON:        Objection.
  24      A      No.   My definition says with several years.           So


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   1              based on the definition, they would have to have
   2              some   experience.
   3      Q      Would you agree that the more experience a person
   4              has -- would you agree that the more relevant
   5              experience a person has, the less education he
   6              would need?
   7      A      Lesser than master's degree?            I don't think so.
   8      Q      Okay.   So in other words -- okay.           It is your
   9              testimony that a person who does not have a
  10              master's degree in chemical engineering does not
  11              possess the necessary skills to be a person of
  12              ordinary skill in the art?
  13                          MS. PETERSON:         Objection to form.
  14      A      No.   As I said in my report, it's not just a
  15              master's degree in chemical engineering, but also
  16              pharmaceutical science or related fields.            It's
  17              not just excluding other disciplines.
  18      Q      Is it your testimony that a person who does not
  19              have a master's degree in chemical engineering
  20              cannot possess the same degree of knowledge as a
  21              person who does have a master's degree in
  22              chemical engineering?
  23                          MS. PETERSON:         Objection to form.
  24      A      Again, my opinion is that the master's degree


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   1              with the caliber of courses, as well as the fact
   2              that master's comes after the bachelors, and
   3              their experience in pharmaceutical formulation,
   4              are what I would consider to be the
   5              qualifications of a person of skill in the art.
   6      Q      So your answer would be no to that question; am I
   7              right?
   8      A      I disagree with the characterization that
   9              somebody with either a less degree, less than a
  10              master's would really meet the level of
  11              qualifications for a person of skill in the art.
  12      Q      Is it your testimony that a person who does not
  13              have a master's degree cannot possess the same
  14              level of knowledge as a person who has a master's
  15              degree?
  16      A      No.   I think that's not what I'm saying.          What
  17              I'm saying is that a person who when you're
  18              looking at the art that is taught in the 802
  19              patent, based on the 802 specifications and
  20              claims, and looking at specifically the art, it
  21              is my opinion that the person has to have at
  22              least a master's degree in chemical engineering,
  23              pharmaceutical science or related field and has
  24              to have experience in pharmaceutical formulation.


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   1      Q      That's a non-responsive answer.              Is it your
   2              testimony that a person who does not have a
   3              master's degree in chemical engineering could not
   4              have the same level of knowledge as a person who
   5              has a master's degree in chemical engineering?
   6                          MS. PETERSON:          Objection to form.
   7      A      No.   Again, that's not what I'm answering.               What
   8              I'm saying is --
   9      Q      Can you answer the question that I've asked?
  10      A      Yes, I can answer the question, but my answer is
  11              that -- I'm saying not just master's degree in
  12              chemical engineering.          It's master's degree in
  13              chemical engineering, pharmaceutical sciences or
  14              related field.
  15      Q      I'm not asking you whether he's a person of
  16              ordinary skill in the art.             I'm asking you
  17              specifically, does a person -- is it your
  18              testimony that a person who does not have a
  19              master's degree in chemical engineering can have
  20              the same level of knowledge as a person who has a
  21              master's degree in chemical engineering?              Forget
  22              the 802 patent.      Is it possible, or is it your
  23              testimony, that a person who does not have the
  24              degree in chemical engineering can have the same


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   1              or possibly greater knowledge than a person who
   2              has a master's degree in chemical engineering?
   3                           MS. PETERSON:        Objection to form.
   4      A      Again, it's a hypothetical question.              You know,
   5              if somebody doesn't have a degree, but has more
   6              experience, and in what area.              Yes, they could
   7              certainly have experience in certain area and
   8              they will know how to do things in that area
   9              based on their experience.            But what I'm
  10              reviewing is based on the context of the 802
  11              patent.
  12      Q      But I want the answer to that particular
  13              question.    It's a non-responsive answer.            I
  14              specifically want the answer to the question.                Is
  15              it your testimony that a person who does not have
  16              a degree in chemical engineering cannot have the
  17              same level of knowledge as a person who has a
  18              degree in chemical engineering?
  19                           MS. PETERSON:        Objection to form.
  20      A      Again, I think I've answered that question at
  21              least three times already.            But it's context
  22              dependent.    It depends on what context you're
  23              applying it to.     A hypothetical person may have
  24              more experiences than educational requirement,


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   1              but I'm looking at it in the context of --
   2      Q      Okay.   So then basically, it is possible that a
   3              person -- okay.      Is a person who is an expert,
   4              like yourself, one who is testifying as an
   5              expert, a person of ordinary skill in the art?
   6                          MS. PETERSON:          Objection to form.
   7      A      Based on the definition that I'm providing, yes.
   8              I have at least a master's degree level education
   9              in pharmaceutical sciences and I have many years
  10              of experience.
  11      Q      That's for you.     But any person who would be an
  12              expert, who testifies as an expert, also be a
  13              person who also has ordinary skill in the art?
  14                          MS. PETERSON:          Objection to form.
  15      A      Again, it depends on what the expertise is and
  16              what they are --
  17      Q      An expert in pharmaceutical formulation.
  18      A      Again, depends on their definition of a person of
  19              ordinary skill in the art.
  20      Q      According to your definition?
  21      A      Are you saying any expert would be qualified as a
  22              person of skill in the art?
  23      Q      Of ordinary skill if they're an expert, an expert
  24              accepted by the court?


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   1                          MS. PETERSON:          Objection to form.
   2      A      Again, I don't know what the court accepts or
   3              doesn't accept. I know that based on my analysis,
   4              I meet the definition of a person of skill in the
   5              art.
   6      Q      Basically, I'm talking about knowledge now, just
   7              about knowledge.       Would you agree that a person
   8              who does not possess a master's degree in
   9              chemical engineering, could have the same or
  10              possibly greater knowledge than a person who has
  11              a master's degree in chemical engineering?
  12                          MS. PETERSON:          Objection to form.
  13      A      Again, depends on what knowledge you're talking
  14              about.   Some knowledge can be acquired through
  15              experiences.    Others -- there's also the
  16              foundational knowledge comes from education.
  17      Q      And that foundation of knowledge cannot be
  18              garnered through experience, can only be garnered
  19              through education?
  20      A      Again, depends.     It's very subjective.        It
  21              depends on what experiences that person has gone
  22              through.
  23                          MS. PETERSON:          Stan, if you're at a
  24              good stopping point for this, is it a good time


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   1              to take a break?
   2                           MR. KREMEN:        Yes.
   3                                 (Brief Recess)
   4              BY MR. KREMEN:
   5      Q      The rest of this deposition is going to be
   6              concerned with, I believe, your marksmen report,
   7              which is Exhibit 7, and the 802 patent, which is
   8              Exhibit 2.    So that's what we're looking at.
   9                           Referring to your declaration marked
  10              Mansoor M. Amiji, Ph.D is Support of blueWillow's
  11              Claim Construction Brief as Exhibit 7.           You
  12              presented yourself as an expert in the field of
  13              pharmaceutical sciences and drug formulation
  14              development and characterization.           Is this how
  15              you're presenting expertise in this present
  16              litigation?
  17      A      Yes.    That's what I mentioned in the
  18              qualification and experience that I'm an expert
  19              in the field of pharmaceutical sciences, and drug
  20              formulation development and characterization.
  21      Q      Okay.    You further state that specifically, "I
  22              specialize in drug formation development and
  23              targeted delivery of therapeutics, and I have
  24              been an expert in this field since prior to July


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   1              7, 2008."
   2                          Is that how you're presenting your
   3              expertise in this present litigation?
   4      A      Yes.
   5      Q      Are there any writings submitted by you other
   6              than the declaration in which express your
   7              opinions on construction of the claims of the 802
   8              patent?
   9                          MS. PETERSON:         Objection to form.
  10      A      I'm not sure I understand the question.
  11      Q      Is this the only writing that you have submitted
  12              to in this case stating your opinions on claim
  13              construction, which is an Exhibit 7?
  14      A      Specifically in relation to claim construction?
  15      Q      Yes.
  16      A      Yes.   This is the declaration, right.
  17      Q      Now, if you would turn to page 13.          Would you
  18              read the first sentence in paragraph 33?            If you
  19              can do that aloud, I would appreciate it.
  20      A      Page 13, paragraph 33?
  21      Q      Yes.
  22      A      "While a person skilled in the art reading the
  23              802 patent would understand that the
  24              specification provides a laundry list of possible


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   1              formulations, the patent specification does not
   2              include any specific examples or test results for
   3              any of the formulations demonstrating that they
   4              work by electrostatically attracting particulate
   5              matter to a thin film applied to the nasal
   6              passages and holding the particulate matter in
   7              place through adhesion to the thin film in order
   8              to electrostatically inhibit such harmful
   9              particulate matter from infecting an individual."
  10      Q      What do you mean by a laundry list?
  11      A      Well, the specification and the tables that are
  12              provided in the patent lists all these different
  13              ingredients.
  14      Q      Isn't it true that you're using the term laundry
  15              list in an attempt to trivialize the ingredients
  16              of the formulations described in the
  17              specification?
  18                          MS. PETERSON:          Objection to form.
  19      A      No.   I'm just stating that the specification of
  20              the 802 patent provides a list of ingredients.
  21      Q      A laundry list.     It's trivializing it.        It's
  22              saying it's to be done with the wash.
  23                          MS. PETERSON:          Objection to form.
  24      A      No.   What I'm saying is, you know, the 802 patent


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   1              is providing a list of ingredients and the tables
   2              provide these ranges but there is no examples.
   3      Q      Okay.   Why did you use the word laundry?
   4      A      Again, it's just a list of ingredients and
   5              examples.   That's what I usually refer to as a
   6              laundry list.
   7      Q      Do you understand what an embodiment is with
   8              respect to patents?
   9                          MS. PETERSON:         Objection to form.
  10      A      I understand, generally, what an embodiment is,
  11              but again, I don't know the exact legal
  12              definition.
  13      Q      What do you understand it to be?
  14      A      Embodiment is one of the examples that the
  15              patentee would be describing that, one or more
  16              examples, that ultimately when it comes to
  17              understanding the claims, that a person of skill
  18              would relay that example towards the actual
  19              nature of the claim language.
  20      Q      Is it true that patents list one or more
  21              embodiments?
  22                          MS. PETERSON:         Objection to form.
  23      A      It varies from patent to patent.            Some patents
  24              list embodiments.      Other patents, like the 802


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   1              patent, doesn't have examples.             It just simply
   2              lists all these different tables with ranges.
   3      Q      We'll get into the 802 patent later.             But doesn't
   4              the patent have to at least list one embodiment?
   5      A      Again, I don't know the exact requirement, the
   6              legal requirement of a patent, but I understand
   7              the term embodiment to mean that it's a
   8              composition or, you know, whatever the patent
   9              claims are teaching towards there is some
  10              language in there that supports that the patentee
  11              had that particular composition or if there was a
  12              method of use patent and they actually were able
  13              to use that particular approach.             And there's
  14              sufficient description in the patent.
  15      Q      Isn't it a fact that there is no statutory
  16              requirement that patents must include test data
  17              or test results?
  18                          MS. PETERSON:         Objection to form.
  19      A      Again, you know, for me, when I'm doing an
  20              analysis, I'm simply looking at what the patent
  21              you are providing.       In my opinion, the patent
  22              doesn't, in written description, an enablement
  23              requirement, based on the fact that it doesn't --
  24              the full scope of the claim is not met by what's


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   1              in the patent.
   2      Q      So I take it that you don't know whether there is
   3              a statutory requirement that a patent needs to
   4              have test results or test data?             Either you know
   5              it or you don't know it.
   6      A      No.    I do know that you don't need specific tests
   7              and exact test results, but you do need to
   8              convince a person of skill in the art that you
   9              were able to make a composition that ultimately
  10              met all the claim limitation.
  11      Q      Do you understand what a marksmen proceeding is?
  12      A      Yes.
  13      Q      What is it?
  14      A      It's a proceeding in the court where certain
  15              claim terms, if there is any ambiguity in the
  16              definition of the claim terms, the court is
  17              provided with the claim terms analysis by both
  18              the plaintiff side and defendant side, and then
  19              the court decides exactly how to interpret the
  20              claim terms.
  21      Q      And you're aware that it's a legal determination,
  22              not a fact determination of the claim terms,
  23              right?
  24      A      Again, I don't know exactly how the court


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   1              determines the claim terms, but my understanding
   2              is that that's what the marksmen hearing is,
   3              provided declaration in support of marksmen.
   4      Q      It's a report, not a jury or a fact finding that
   5              makes that determination; is that correct?            You
   6              understand that?
   7      A      That's been my experience so far. But I don't
   8              know exactly what the legal requirement is.
   9      Q      Now, you would agree that the lack of test
  10              specific examples, data or test results, has
  11              nothing to do with the meaning of the claim term,
  12              the actual meaning of the words?
  13      A      Well, for person of skill to understand the
  14              meaning they have to see what the specification
  15              is describing, and ultimately draw -- you know,
  16              when you look at the actual claim language, you
  17              don't find any support in the specification for
  18              the 802 patent.
  19      Q      All right.   One of the things which you mentioned
  20              when we began the deposition, is you mentioned
  21              the Phillips standard and you discuss that in
  22              your report.    I don't remember which one.          That
  23              the first page we look at it is the plain
  24              language of the claim.         I think that that was


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   1              your opinion.    I don't know if it was this report
   2              or the other one.
   3                          MS. PETERSON:         Is there somewhere where
   4              you want to point him to?
   5                          MR. KREMEN:        I don't remember.     He did
   6              testify to that.
   7      A      Yes.   I've seen that specific language related to
   8              the Phillips.
   9      Q      So for example, if we're going to use the plain
  10              language of the claims, do you have to have test
  11              results or test data to determine what the plain
  12              language means?
  13                          MS. PETERSON:         Objection to form.
  14      A      Again, in my opinion, and based on the
  15              declaration that I provided for the claim
  16              construction brief, the patent doesn't show to a
  17              person of skill I the art, doesn't explicitly
  18              describe any specific embodiment or any specific
  19              examples that meets all the claim limitations.
  20              That's what I'm opining on in my report.
  21      Q      But in terms of the claim, don't the words mean
  22              what they mean in English?            Forgetting -- the
  23              Phillips standard said you start out with plain
  24              language of the claims.          Don't these words have


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   1              specific definitions, specific dictionary
   2              definitions?
   3                           MS. PETERSON:        Objection to form.
   4      A      If you just take the claim in isolation of the
   5              specification, then those definitions are, you
   6              know, what the plain language mean.             But a person
   7              of skill looks at the patent in total.
   8      Q      Okay, good.    So in other words -- so basically,
   9              you start out with the plain language, okay, and
  10              you can modify the plain language by, in fact, I
  11              believe that the rule says that a person can be
  12              his own lexicographer, which means he can find
  13              define terms differently than the plain language.
  14              It starts out with the plain language, but he can
  15              then define terms differently.             You're aware of
  16              that, right?
  17      A      Yes.
  18      Q      Among the things that you could define terms
  19              differently is you can have a glossary, okay.             Am
  20              I right, you can do that?           You can do that.    You
  21              can say I know that as long as the meaning of the
  22              term is not repugnant, it's ordinary meaning, you
  23              can say, when I use this term, it means that; you
  24              can do that, right?


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   1                           MS. PETERSON:        Objection to form.
   2      A      Again, you know, that's maybe some, you know,
   3              legal specific requirement.            Again, as I
   4              mentioned, I'm a technical expert, I don't know
   5              the law related to --
   6      Q      But you've written patents before in which you,
   7              I'm sure you defined terms in certain ways;
   8              haven't you?
   9      A      As I've mentioned before in my testimony, I have
  10              worked with lawyers who helped me with the draft
  11              of the claims and we worked together on the
  12              specifications.
  13      Q      Is a specification mostly written by you or is it
  14              written by the attorneys?
  15      A      It's mixed.    In some cases, some sections of the
  16              specification I provide, especially if it's data
  17              that we collected in the lab, and interpretation
  18              of that data.    Others the lawyers write.
  19      Q      So in the absence of a glossary, okay, we start
  20              out with a plain meaning of the word in the
  21              dictionary definition, an we take a look and see
  22              if the specification or anything else within the
  23              patent description changes the meaning in any
  24              way; is that correct?


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   1                           MS. PETERSON:         Objection to form.
   2      A      I'm not an expert in this area of, you know, what
   3              is the actual definition for the claim language.
   4              What I'm doing is interpreting the claims in view
   5              of the specification and providing my opinions in
   6              my brief.
   7      Q      So essentially, you're interpreting the claims as
   8              a technical expert, but not as a legal expert?
   9      A      Yes.    My declaration is specifically relates to a
  10              person of skill in the art and how they would
  11              interpret the claims.
  12      Q      Yet, we know that in the marksmen hearing, the
  13              definition of claim terms is a legal
  14              determination.     So doesn't some legal knowledge
  15              -- isn't some legal knowledge required to be able
  16              to interpret the claims?
  17                           MS. PETERSON:         Objection to form.
  18      A      Again, whatever legal standards that I've
  19              applied, I mention in my declaration.           But what
  20              I'm doing is to look at this in the context of a
  21              person of skill in the art and my declaration is
  22              in support of the construction brief from the
  23              defendant's side.
  24      Q      Okay.    So now the lack of test examples, or data,


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   1              or test results, really has nothing to do with
   2              the meaning of the words in the claim; am I
   3              right?
   4      A      But a person of skill would be looking at the
   5              claim and seeing what the claims is teaching and
   6              then they will look at the specification to see
   7              what support there is.          There is no support any
   8              of the elements of the claims in the
   9              specification.
  10      Q      Let's look at some of this, okay.             Have you ever
  11              written any claims completely by yourself?
  12      A      No, I have not.
  13      Q      Okay.   Look at paragraph 32 on the previous page.
  14              You state that the 802 patent includes 10
  15              separate tables, each with numerous formulations
  16              and compounds that are variable.
  17      A      Yes, I see that.
  18      Q      By that, you mean that the percentage for each
  19              ingredient is provided as a range of values; is
  20              that correct?
  21      A      Well, that's what the 10 tables have.             They have
  22              ranges of values.       They have, in many instances,
  23              specific ingredients and then they also have
  24              different number of ingredient.             And then as you


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   1              looked at the claim, it's a comprising claim,
   2              which means that it could also have other things
   3              in there.
   4      Q      I'm specifically looking at the 10 tables right
   5              now, okay.    It's providing a percentage for each
   6              ingredient as a range of values; is that correct?
   7      A      Yes, it is, and the ranges can go from anywhere.
   8              A case of water, for example, can go from 62 to
   9              80 percent.
  10      Q      That's what a range is.          Now, would you agree
  11              that ranges are permitted for ingredient
  12              percentages?
  13                           MS. PETERSON:         Objection to form.
  14      A      Permitted where?
  15      Q      In a patent specification.            It doesn't have to be
  16              an exact percentage; am I right?
  17      A      Well, of course, they are, but again, when you're
  18              developing a composition based on that range, how
  19              would that meet the claim limitation?            How would
  20              it electrostatically attract in particulate
  21              matter?   What level of electrostatic charge do
  22              you need from all of those different ranges?              How
  23              would it hold?     How long would it hold?         What
  24              kind of inactivation?          What type of particle


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   1              would it inactivate?        Would it inactivate the
   2              same level in anthrax or would it inactivate a
   3              coronavirus?
   4      Q      So isn't that a reason for it to be variable?
   5      A      No.   That's not -- how would a person of skill
   6              know from looking at these ranges which ones
   7              would actually function the way the patent
   8              claims?
   9      Q      You're claiming that a formulator, a
  10              pharmaceutical formulator would not -- that you,
  11              as a person of ordinary skill in the art, that
  12              you would not be able to look at those examples
  13              and develop a formulation using those ingredients
  14              in the specific ranges, remember you can't go
  15              beyond those ranges, developing those specific
  16              ranges, to produce something that would have a
  17              particular replication which is listed in the
  18              patent?    You would not know how to do that?
  19      A      No.   Not only me, nobody else would know.
  20              Because, again, it's all over the place.            At the
  21              end, you're looking at potentially applying to a
  22              human being and saying oh, see if anthrax, you're
  23              going to be stopped from getting infected by
  24              anthrax.


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   1      Q      Doesn't that take experimentation?              Wouldn't the
   2              formulator do some experimentation to make that
   3              determination?
   4      A      That's the definition of undue experimentation,
   5              is how many experiments would you need to do with
   6              all these ranges, and which one of these
   7              ingredients would you put in, which ones you can
   8              exclude.   If it's a comprising claim, you could
   9              even have more, and some of them may even
  10              neutralize the charge.
  11      Q      So in other words, as long as the experimentation
  12              is not undue, you could do some experimentation
  13              with those ingredients, right?
  14                          MS. PETERSON:          Objection to form.
  15      A      No.   Again, this is just a table that lists these
  16              ingredients and ranges without any guidance to a
  17              person which of these ranges are actually going
  18              to be functional, and which one will ultimately
  19              lead to a product that meets the claim
  20              limitation.
  21      Q      So in words, you're saying that you got to have
  22              embodiments there with specific composition
  23              percentages, right?
  24      A      No, that's not what I'm saying.              I'm saying that


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   1              even if you have these changes, at some point,
   2              you have to inform a person of skill in the art
   3              which product out of these ranges actually meet
   4              the claim limitation.         These are just ranges of
   5              compositions without any guidance to a person of
   6              skill that they will meet the claim limitation.
   7      Q      Okay.   If the concentration of the ingredients
   8              were specific as opposed to variable, would that
   9              change the meaning of the claim term?
  10      A      It wouldn't meet the concentration of being
  11              specific.   The question is, you know, you still
  12              have to then ask would that actually lead to a
  13              thin film? Would it then meet all of the
  14              different elements of the claim?           Would it
  15              electrostatically attract the particulate matter,
  16              which particulate, and for how long?           Would it
  17              then hold the particulate matter?           And then more
  18              importantly, would it inactivate?
  19                          So, you have to have certain level of
  20              description in there that supports these
  21              compositions that says this is how we would
  22              verify if we're meeting the claim limitations.
  23      Q      So you're saying that you cannot, so a patent
  24              cannot have a claim that is broader than what you


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   1              disclose?
   2                           MS. PETERSON:        Objection to form.
   3      A      A patent cannot have something that doesn't
   4              really tell a person of skill in the art that
   5              there is actually a composition there.
   6      Q      Okay.    You would agree that the terms
   7              electrostatically attracting the particle to the
   8              thin film necessarily means that particulate
   9              matter and thin film are oppositely charged, that
  10              there's a force of attraction between them, yes?
  11      A      Again, it depends on what particle and what force
  12              is necessary to create that attraction.
  13      Q      I'm saying that the plain meaning of the term,
  14              electrostatically attracting particle matter to
  15              the thin film, what is the plain language meaning
  16              of that expression?
  17                           MS. PETERSON:        Objection to form.
  18      A      Just means that there is some electrostatic
  19              attraction between a particle and this thin film.
  20      Q      Okay.    So you understand what the concept of
  21              electrostatic attraction of particles with thin
  22              film is; don't you?
  23      A      Right.    But again, when I look at the
  24              specification, it could be any particle.            It


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   1              doesn't even specifically one type of particle
   2              and how that attraction occurs.            You have a list
   3              of different germs, different bacteria, viruses,
   4              you know, different allergens.
   5      Q      So if we're taking about a formulation that has a
   6              cationic agent in it of sufficient concentration,
   7              and we talk about harmful particles that are
   8              negatively charged, okay, then you would
   9              understand the term electrostatic attraction
  10              meaning that these unlike charges attract each
  11              other; would you not?
  12                           MS. PETERSON:        Objection to form.
  13      A      I would understand it.         It will just be
  14              electrostatic interaction between negatively
  15              charged particles and positively charged surface.
  16              But when you look at the entirety of the claim,
  17              it's not just attraction.           It's holding, it's
  18              inactivating.
  19      Q      Okay.   We'll get to that.         But certainly
  20              electrostatic attraction, you understand what
  21              that means, what the term means?
  22      A      Yes, I understand what electrostatic attraction
  23              means.
  24      Q      Okay, good.


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   1                           (Whereupon, Action Summary, was marked
   2                           as Exhibit No. 11.)
   3
   4      Q      Do you recognize this document?
   5      A      Yes, I do.
   6      Q      What is this?
   7      A      This is, I believe, the prosecution -- the USPTO
   8              providing the examination of the 802 patent in
   9              providing a communication based on the
  10              examination.
  11      Q      You use this as an exhibit in your own report; am
  12              I correct?
  13      A      Yes, I believe I had used this as one of the
  14              exhibits in the report, but I don't recall
  15              exactly which.
  16      Q      But you recognize the document?
  17      A      Yes, I do.
  18      Q      And do you recognize it as the office action
  19              pertaining to the application that ultimately
  20              issued as the 802 patent; is that correct?
  21      A      That's my understanding, yes.
  22      Q      I represent to you that this document is a true
  23              copy of the USPTO non-file office action, dated
  24              August 25, 2011, with a patent application that


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   1              ultimately issued as the 802 patent.            Now, please
   2              read pages two through four of this document to
   3              yourself and tell me when you're done.
   4      A      Okay.
   5      Q      Now, look at the patent, look at the preamble of
   6              claim one. It says, "Method for electrostatically
   7              inhibiting harmful particles from infecting an
   8              individual through," et cetera.            And the other
   9              one in claim number two says, "A            formulation for
  10              electrostatically inhibiting harmful particles,
  11              harmful particulate matter from infecting an
  12              individual."
  13                           You see that, right?
  14      A      Yes.
  15      Q      Are you aware that prior to this office action,
  16              instead of the word inhibiting, it was the word
  17              preventing; are you aware of that?
  18      A      Yes.    That's what the examiner has quoted here.
  19      Q      The examiner rejected the claim on the 112 first
  20              paragraph indicating that there is not an
  21              adequate written description or enablement to
  22              support the term electrostatically preventing; is
  23              that correct?
  24                           MS. PETERSON:        Objection to form.


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   1      A      That's what the examiner is stating in this
   2              office action.
   3      Q      Okay.    Now, on page three, last paragraph, it
   4              starts with the words -- page three, last
   5              paragraph. It's a short paragraph, why don't you
   6              read it aloud?
   7      A      On page three, you said, right?
   8      Q      Right.
   9      A      The paragraphs says, "In reading the present
  10              specification as a whole, it appears the tenor
  11              thereof is that infections, whether they cause
  12              pathology or not, may be inhibited rather than be
  13              prevented.    The former allowing at least one
  14              infectious material to pass into the system of
  15              the host rather than the latter, which indicates
  16              that not even one of the infectious material is
  17              allowed to infect, that is to pass into the
  18              system of the host."
  19      Q      What does that paragraph mean to you?
  20      A      Well, according to this examiner, it seems that
  21              the word inhibited, as opposed to prevented,
  22              allows for partial, there's some sort of -- it
  23              allows for some of the infectious materials to
  24              pass and others to be prevented.            But if you use


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   1              the term prevented, according to his analysis, is
   2              that everything has to be prevented.
   3      Q      Okay.    So in other words, what you're saying is
   4              that by -- and, in fact, if we look at the bottom
   5              of page -- let's say the examiner did indicate
   6              that to cure the problem, you can amend the claim
   7              if you change the word prevented to inhibited; is
   8              that right?
   9                           MS. PETERSON:        Objection to form.
  10      A      I'm not sure they're using the term cure, but it
  11              says overcoming the rejection below, delete the
  12              term preventing and replacing it with the term
  13              inhibiting.
  14      Q      Okay.    In other words, the difference between
  15              preventing and inhibiting is that some harmful
  16              particles under the inhibiting standard, some
  17              harmful particles could get through, and others
  18              would be prevented from -- would not infect the
  19              individual; is that what -- do you see that
  20              there?
  21                           MS. PETERSON:        Objection to form.
  22      A      You know, I'm reading the examiner's opinion
  23              here.    You know, I don't agree.          You could have
  24              similarly preventing.         You can have partial


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   1              prevention or full prevention.
   2      Q      But inhibiting, according to the examiner, seems
   3              to mean that you have partial prevention.
   4      A      Again, you can still use partial prevention or
   5              full prevention.      I don't see why inhibiting
   6              somehow overcomes that.          But again, looking at
   7              the totality of this claim, you know, to me, the
   8              term inhibiting also supports this idea that
   9              somehow you're going to be resisting that
  10              infection.
  11      Q      Okay. So you can see that the examiner understood
  12              what the word inhibiting meant in the context of
  13              the claim, right?
  14                           MS. PETERSON:        Objection to form.
  15      A      I understand what the examiner meant.           I don't
  16              agree with the examiner, but I understand what he
  17              means.
  18      Q      Do you believe that the examiner is a person of
  19              ordinary skill in the art?
  20      A      I don't know what -- I don't know what his
  21              qualifications are.
  22      Q      But you do understand what he means by the term
  23              inhibiting, right?
  24      A      I understand what's in the office action, yes.


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   1      Q      And as a matter of fact, that's when the patent
   2              office says that that's what it means, that's
   3              what it means, correct?
   4                           MS. PETERSON:        Objection to form.
   5      A      That's their opinion that they are providing in
   6              the office action.       But clearly, when I review
   7              the claims from a person of skill in the art, to
   8              me, inhibiting means you're able to prevent
   9              infection.
  10      Q      Okay.   So now, electrostatically inhibiting,
  11              doesn't that mean that it uses electrostatics?
  12      A      You know, that would be the interpretation that
  13              it uses electrostatics, yes.
  14      Q      So from a plain and ordinary meaning, in light of
  15              this office action, electrostatically inhibiting
  16              is a definite term, it's something that you can
  17              understand that's inhibiting, which you
  18              understand what it means, using electrostatics;
  19              am I correct?
  20                           MS. PETERSON:        Objection to form.
  21      A      Again, if you're just looking at those two terms
  22              outside of the totality of the claims and in view
  23              of the specification, that's what it means,
  24              electrostatically inhibiting, meaning inhibiting


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   1              based on electrostatic.          But you have to read the
   2              entirety of the claim and you have to look at in
   3              view of the specification.
   4      Q      Is there anything in the specification that would
   5              change that definition?
   6      A      Well, the fact that when you're talking about
   7              harmful particulate, it is a list of harmful,
   8              which ones would be inhibited and at what degree
   9              would it -- you know, is the allergens inhibited
  10              through the same level as anthrax?
  11      Q      Okay.   That's a very good question.         Do you
  12              believe that one can patent a general medication
  13              or a general pharmaceutical formulation that
  14              would cover a wide range of pathogens or harmful
  15              particles or does it have to be restricted, does
  16              the patent have to be restricted to a single
  17              harmful particle or can it be general?
  18                          MS. PETERSON:         Objection to form.
  19      A      Again, I have to look at the specifics of that
  20              patent and the claims of that patent to make that
  21              opinion.   What I'm doing is I'm reviewing data
  22              too, and my opinions for the 802 is that when
  23              you're looking at the claims in view of the
  24              specification, you have to consider everything


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   1              that's in the specification as well.
   2      Q      Okay.   But you did say that understood what
   3              electrostatically inhibiting means, and when I
   4              asked you is there anything in the specification
   5              that would conflict with that understanding of
   6              the definition, as was in the office action, as
   7              well as the word electrostatic?
   8                          MS. PETERSON:         Objection to form.
   9      A      Again, when I look at the meaning of the claim in
  10              view of what is in the 802 patent, it says
  11              harmful particulates.         Those harmful
  12              particulates, there's a spectrum.            Some are more
  13              harmful than others.        So when you say inhibiting,
  14              how much do you need to inhibit?
  15      Q      That's not what I'm asking.            I'm asking, is there
  16              anything in this specification that would
  17              conflict with that meaning of the term?
  18      A      Meaning of just the term electrostatically
  19              inhibiting?
  20      Q      Yes.
  21      A      Well, the fact that, you know, again, what level
  22              of electrostatic field do you need?
  23      Q      That's not what I'm asking.            I specifically
  24              asked, is there anything in the specification,


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   1              written down in the specification, that would
   2              conflict with that meaning of the term?
   3                           MS. PETERSON:         Objection to form.
   4      A      Again, I have to look at the entirety of the
   5              specification.     I don't look at just two terms in
   6              the entire claim.       I look at the totality of the
   7              claim and then I look at the totality of the
   8              patent.
   9      Q      Okay.   Now, you're looking at the totality of
  10              claim one.    Okay, let's take a look at --
  11              electrostatically inhibiting we know that --
  12              essentially, this is a use.             In other words, it
  13              is a -- we're looking for a method for
  14              electrostatically inhibiting, and essentially,
  15              it's a use for the method, and it's also a use
  16              for the formulation.         So we're saying that this
  17              is what the formulation does.               It
  18              electrostatically inhibits, okay.                There is not -
  19              - is there anything in the specification that
  20              will conflict with what we're trying to do with
  21              the formulation or the method?
  22                           MS. PETERSON:         Objection to form.
  23      A      Again, the fact that the term, just
  24              electrostatically inhibiting is, you know,


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   1              meaning that it is stopping these particles and
   2              there's phenomena of electrostatic.               But other
   3              than that, you know, the specification doesn't
   4              tell anything about, any of the other properties
   5              that are necessary to meet the claim limitations.
   6      Q      Doesn't electrostatically inhibiting, as it's
   7              used in the claim, mean that it stops some
   8              harmful particles from protecting an individual,
   9              according to what the examiner came -- isn't that
  10              what it means?
  11                          MS. PETERSON:          Objection to form.
  12      A      Again, that's what the examiner is suggesting in
  13              the office action, but a person of skill would
  14              look at this and say when you look at the list of
  15              different harmful pathogens, when you say
  16              inhibiting, and inhibiting means allowing some of
  17              them to go, what's the value?               If you allow one
  18              anthrax to go into your body, you still get
  19              infected.
  20      Q      Right.   But that's -- isn't that why the examiner
  21              specifically changed preventing to inhibiting?
  22      A      No.   But if the claim is directed towards
  23              inhibiting and also inactivating, you have to
  24              look at it in the context of specification.               You


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   1              know, if you get one Coronavirus in your body,
   2              you still get infected.
   3      Q      But you are aware that the examiner made a ruling
   4              in this particular case that if it was changed to
   5              inhibiting, it would be acceptable; is that
   6              correct?
   7                          MS. PETERSON:           Objection to form.
   8      A      It would be acceptable to him.
   9      Q      Okay.   But he is essentially an official in the
  10              U.S. Government; is he not?
  11      A      I mean, this is his opinion.            That's what he's
  12              providing in the office action.
  13      Q      Let's take a look at the claim, and we're going
  14              to talk about claim -- take a look at claim
  15              number two.    We know for the plain meaning of the
  16              term, of what electrostatically inhibiting
  17              harmful particulate matter, in other words,
  18              that's the intended use of the formulation, okay.
  19              So in other words, you understand that
  20              electrostatically inhibiting harmful particulate
  21              matter from infecting an individual through nasal
  22              inhalation is an intended use of the formulation;
  23              is that correct?
  24                          MS. PETERSON:         Objection to form.


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   1      A      Again, that's mentioned here in the claim, but
   2              you have to look at it in the context of the
   3              other limitations.       It's formulation comprising
   4              at least one cationic agent and a biocidic agent,
   5              and then it's attracting the particulate matter
   6              into a thin film holding that particulate matter
   7              and adjusting for the adhesion of the thin film.
   8      Q      All right.
   9      A      All of those other elements have to be met as
  10              well.
  11      Q      Let's take a look at the formulation itself,
  12              okay.    We're speaking about a formulation that
  13              has an intended use, okay.            And where the
  14              formulation is applied to the skin or tissue of
  15              the nasal passage; you understand that, don't
  16              you?
  17      A      Are you just asking me to see what's in the
  18              claim?
  19      Q      Yes.    In other words, I'm looking at the preamble
  20              of the claim two.      The formulation applied to the
  21              skin or tissue of the nasal passages of the
  22              individual, right?
  23      A      That's what the claim is written.            That's the way
  24              it was written.


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   1      Q      You understand that, right?            Is there some reason
   2              that you don't understand that?
   3                          MS. PETERSON:         Objection to form.
   4      A      I understand what's written.            But what I'm trying
   5              to explain is the fact that when you look at that
   6              preamble, you also have to look at the other
   7              elements.
   8      Q      What is in the preamble is applied to thin film,
   9              okay.   And formulation comprises at least one
  10              cationic agent and at least one biocidic agent.
  11              Is that understandable?
  12                          MS. PETERSON:         Objection to form.
  13      A      Yes.   I can read what's written in the claim.
  14      Q      What does it mean?
  15      A      That in this formulation, the ingredients of the
  16              composition should have at least one cationic
  17              agent and at least one biocidic agent.            And then
  18              wherein said formulation once applied, has other
  19              elements.
  20      Q      So basically, you would agree that examples of
  21              the cationic agents and biocidic agents are
  22              included in the specification; is that not
  23              correct?
  24      A      Again, this is a laundry list of different kinds


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   1              of cationic agents, and certainly laundry lists
   2              of some of these that are biocidic as well.
   3      Q      Okay.   But there's at least one of each, right?
   4      A      But it doesn't tell you which one and it doesn't
   5              say anything about how much --
   6      Q      That's not what I asked.          Specifically, it says
   7              it has to have, that the formulation has to have
   8              a cationic agent and a biocidic agent.               And
   9              examples of that, of those agents, are given in
  10              the specification. They're listed in the
  11              specification; am I correct?
  12      A      Those examples are given, but again, for person
  13              of skill looking at this claim too, they will
  14              look at which ones of those will actually do the
  15              function that are described in element A, B, and
  16              C.
  17      Q      All right, that's reasonable.               That's reasonable.
  18              Now, let's go on to element A, okay.
  19              Electrostatically attracts the particulate matter
  20              to the thin film.      Before you said you know what
  21              that means?
  22                          MS. PETERSON:         Objection to form.
  23      A      No.   What I'm saying is that is, that element,
  24              when you look at in the context of these


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   1              composition without any specific amounts of any
   2              specific type of ingredient, you don't know which
   3              particulate matter in the specification.             They
   4              have all kinds of particulate matters.
   5      Q      Is a claim supposed to be a manufacturing
   6              specification?
   7      A      No, it's not a manufacturer.             It's a function
   8              claim, and therefore, to function in this way,
   9              when you have so many different kinds of
  10              particulate matter, how would all of those
  11              particulate matter somehow bind electrostatic?
  12      Q      Okay.    We know that the formulation has a
  13              cationic agent; is that correct?             Because it says
  14              so, all right.     A cationic agent.          One of those
  15              that are listed there.          We know that the
  16              formulation has that, okay.
  17                           Now, if we have the cationic agent and
  18              we know some harmful particles are negatively
  19              charged, would they be attracted to the thin
  20              film?
  21      A      Again, depends on whether the cationic agent is
  22              actually exposed to the outside of the thin film.
  23      Q      But it could be -- electrostatic attraction could
  24              be there; am I correct?


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   1      A      Again, depends on what type of charge you have
   2              and which type of particulate matter.           Would you
   3              get the same level of attraction irrespective of
   4              any particulate matter?          No.
   5      Q      Is it required that it would have the same
   6              effective quantity or effect for all cationic
   7              agents for all harmful particles or can it vary?
   8      A      Again, I mean, I read the claim in view of all
   9              the different elements, if there is something
  10              that will actually attract and hold and
  11              inactivate.    And you look at the specification
  12              and it says all of these different bacteria and
  13              viruses and allergens are inhibited, that's how I
  14              interpret the claim.
  15      Q      If there was only one cationic agent and one
  16              bacteria, would this be a valid --
  17      A      That's not the claim.        I'm reading the claim of
  18              the 802.   I'm not reading some other hypothetical
  19              patent.
  20      Q      If the claim consists of one of the cationic
  21              agents that is listed in the specification, one
  22              of them, and it contains one specific harmful
  23              particle that is also listed in the
  24              specification, and it contains a sufficient


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   1              quantity, would that expressions be
   2              understandable to you?
   3                           MS. PETERSON:        Objection to form.
   4      A      Again, that's not the claim of the 802.             I'm
   5              reading the claim as written by the patentee.               So
   6              to me, I interpret what's on the paper, not some
   7              hypothetical.
   8      Q      Okay.    Let's look at B.       One of the things that
   9              you indicated was that the term adequate
  10              impermeability is not evident.             Why do you say
  11              that?
  12      A      Well, again, looking at the claim element, if
  13              you're looking at 2B, where it holds the
  14              particulate matter in place by adjusting the
  15              adhesion of the thin film to permit said thin
  16              film to stick to the skin or tissue and by
  17              adjusting the cohesion of the formulation to
  18              provide adequate impermeability to the thin film.
  19              So when you look at in totality, that claim
  20              element, what it's saying is that it's going to
  21              be a thin film that will basically prevent these
  22              harmful particulate matter from passing from one
  23              side or the other.        I believe that adequate
  24              impermeability is indefinite because it doesn't


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   1              say what level of impermeability is acceptable.
   2      Q      Well, isn't adequate a term of degree?
   3      A      A degree of what?       Again, for anthrax, what level
   4              of impermeability do you need?
   5      Q      Do you understand that in a patent you could have
   6              terms of degree, for example, like sufficient
   7              quantity or adequate efficiency?            Is it possible
   8              to have terms of degree like that in a claim, in
   9              a patent claim?
  10                           MS. PETERSON:         Objection to form.
  11      Q      Do you know whether it's possible?
  12      A      Again, maybe in some of those other patents,
  13              again, depending on the teaching, the art, to
  14              those patents.     Here, I'm focusing on the 802.
  15      Q      Okay, fine.    Let's deal with that.          What does the
  16              term adequate mean?        Give me a dictionary
  17              definition in your mind what the term adequate
  18              means.
  19                           MS. PETERSON:         Objection to form.
  20      A      Again, I don't know exactly, you know, in terms
  21              of the impermeability, what the claim language
  22              here suggests is that it's some level of
  23              impermeability, but it doesn't explicitly state
  24              what that means.       And if you looked at in the


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   1              context of preventing infection, then it becomes
   2              indefinite because if --
   3      Q      Well --
   4      A      Let me finish.
   5      Q      Go ahead.    Sure.
   6      A      Different particulates have different
   7              pathogenicity.      So what impermeability are you
   8              looking for if you're thinking potentially a
   9              very, very deadly pathogen?
  10      Q      Okay.   So basically what adequate impermeability
  11              should mean, and correct me if I'm wrong, should
  12              be that the permeability has to be adequate for
  13              the purpose of preventing the pathogen from
  14              penetrating the thin film, is that not correct?
  15              Wouldn't that be the definition of adequate in
  16              this case for that particular purpose?
  17      A      Well, again, if that's the definition, then --
  18              and that's why it's indefinite, because different
  19              pathogens require different levels of
  20              impermeability depending on how potent they are.
  21      Q      But for a given pathogen, let's say any given
  22              pathogen, the term adequate impermeability would
  23              not be indefinite; would it, for a given
  24              pathogen?


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   1                          MS. PETERSON:          Objection to form.
   2      A      Again, but that's not here.             In context of the
   3              802 and these claims, it doesn't explicitly say,
   4              this is the pathogen.          It says all of these
   5              pathogens and allergens.
   6      Q      So in other words, you can't come with a claim
   7              that would be general then?             You couldn't claim
   8              more broadly than is in the specification; is
   9              that correct?
  10      A      But you have to inform a person of skill what
  11              that meaning of the claim is in view of the
  12              specification.     Right now the specification is
  13              listing all of these different particulate
  14              matter, harmful particulate matter, and you have
  15              a term like adequate impermeability, doesn't say
  16              to a person of skill in the art, doesn't explain
  17              of what level of impermeability you need.
  18      Q      So in other words, you're saying that because the
  19              specification in this patent is not definite as
  20              to exactly what pathogen you're going to use and
  21              exactly what cationic agent you're going to use,
  22              and what the exact concentration is, that the
  23              whole thing, the claim is indefinite?
  24                          MS. PETERSON:          Objection to form.


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   1      A      No.   What I'm looking at is interpreting the
   2              claims in view of the specification, and I'm
   3              basically opining in my declaration the specific
   4              sections that I feel, for example, adequate
   5              impermeability is indefinite, because each of
   6              these different pathogens in particulate matter
   7              will have differential impermeability that would
   8              be necessary to prevent them from infecting the
   9              host.
  10      Q      Okay.    So that is what you believe adequate
  11              impermeability to be?         In other words, you've
  12              just given me a definition of adequate
  13              impermeability, where you said it depends on the
  14              specific pathogen and the specific adjustments of
  15              the adhesion and cohesion?            You just gave me that
  16              definition.
  17      A      Again, that would be, you know, the way I would
  18              interpret specifically the term claim, the claim
  19              language of adequate impermeability in the
  20              context of the specific type of particulate
  21              matter.    But the claims are not directed to any
  22              type of particulate matter.            They're directed to
  23              broad.    The claims are very broad, and when you
  24              look at the claims in view of the specification,


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   1              you see that those particulate matter can be
   2              anything.
   3      Q      And you feel that that's not permissible?
   4      A      Well, in that sense, for a person of skill in the
   5              art, the claim would be indefinite for that
   6              reason.
   7      Q      But you, as a person of skill in the art, would
   8              be able to perform experimentation using those
   9              ingredients and to develop a -- would you be able
  10              to develop a formulation using those ingredients
  11              that would do what you need to do?
  12                          MS. PETERSON:         Objection to form.
  13      A      Not based on the teaching of the 802.           Again, as
  14              I've testified before, the 802 has a list of
  15              different ingredients and ranges.          So I would
  16              have to -- you know, this is the definition of a
  17              new experimentation.
  18      Q      Wouldn't different percentages have different
  19              effects on different people?
  20                          MS. PETERSON:         Objection.
  21      A      I'm not sure what you mean by that.
  22      Q      Okay.   Let's continue.        The next thing that we're
  23              speaking about is renders said particular matter
  24              harmless.   Now, we know what the definition, the


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   1              dictionary definition of harmless is.           But can
   2              the prosecution history change that definition?
   3                           MS. PETERSON:        Objection to form.
   4      A      Again, I don't know if that's, you know, a legal
   5              interpretation.     As I do my analysis, I look at
   6              it from a technical and from a person of skill in
   7              the art.    And harmless is also subjective.
   8      Q      Okay.    Subjective.    As a matter of fact, if you
   9              look on page one of the patent, the very first
  10              page.    Why don't you read the abstract, the full
  11              abstract?
  12      A      You want me to read it aloud?
  13      Q      Please.
  14      A      "A product to reduce, a method of reducing the
  15              risk of inhalation of harmful substances by
  16              applying a formulation composition to a substrate
  17              or the skin in close proximity of one or more
  18              nostrils.    This formulation when applied creates
  19              an electrostatic field having a charge.           The
  20              electrostatic field attracts airborne
  21              particulates of opposite charge to the substrate
  22              and are in close proximity to the substrate close
  23              to the skin.    And a biocidic agent renders
  24              microorganisms coming in contact the substrate or


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   1              skin less harmful."
   2      Q      Less harmful, okay.       So basically, that was the
   3              -- because it were inhibiting, and not
   4              preventing, the term less harmful means that
   5              perhaps some can get through, some can't; am I
   6              right?
   7                          MS. PETERSON:         Objection to form.
   8      A      Again, if you look at the specification about
   9              some of those harmful agents, you know, these
  10              could be anything from allergens to bacteria to
  11              viruses, to all different kinds of pathogens.             So
  12              what is less harmful for, you know, fungals or
  13              what is less harmful for Coronavirus getting in?
  14              What's less harmful for smallpox virus?           What's
  15              less harmful for influenza virus?
  16      Q      Okay.   When you read scientific articles, do the
  17              scientific articles have an abstract?
  18      A      They do.
  19      Q      When you read an abstract, do you typically
  20              understand what it is that the article is trying
  21              to convey before you read it?
  22      A      I usually read the abstract, but I also look at
  23              the conclusion and also look at, if I'm
  24              interested in that particular research, I would


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   1              look at the methods.
   2      Q      But reading the abstract that you just read, as a
   3              separate item, forget the rest of the patent, if
   4              you were looking at this abstract trying to
   5              figure out whether you were going to read this
   6              patent, is that abstract understandable?
   7      A      Again, when a person of skill looks at the
   8              patent, they look at the entirety of the patent.
   9              They're not just looking at the abstract.            So you
  10              have to look at the patent in total, and you look
  11              at the abstract in the context of other sections
  12              of the specification.
  13      Q      Doesn't this abstract specifically state what the
  14              formulation and the methodology is going to do?
  15              Doesn't it say it in black and white?
  16      A      Again, abstract by itself has certain sentences,
  17              but you don't just look at the abstract.            You
  18              look at the claims.        You look at other sections
  19              of the specification.          And when you start to
  20              interpret these harmful particulates in the
  21              specification column three, you have descriptions
  22              of what those harmful particulates are.           It's
  23              right on line 44 up to -- continues all the way
  24              up to line 65.


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   1                           MR. KREMEN:       I have nothing more.
   2                           MS. PETERSON:        I don't have any
   3              questions.    The witness will review and reserve
   4              the right to make corrections to the deposition
   5              and will sign it.
   6
   7                    (Whereupon, the deposition in the
   8              above-entitled matter concluded at 12:20 p.m.)
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   1                             C E R T I F I C A T E
   2      COMMONWEALTH OF MASSACHUSETTS
   3      COUNTY OF PLYMOUTH, SS
   4              I, Susan Baxter, a Professional Court Reporter
   5      and Notary Public in and for the Commonwealth of
   6      Massachusetts, do hereby certify that the foregoing
   7      deposition of MANSOOR AMIJI, was taken before me on
   8      October 14, 2022.      The said witness was satisfactorily
   9      identified and duly sworn before the commencement of
  10      his testimony; and that such deposition is a true
  11      record of the testimony given by the witness.
  12              I am not connected by blood or marriage with any
  13      of the said parties, nor interested directly or
  14      indirectly in the matter in controversy.
  15              In witness whereof, I have hereunto set my hand
  16      and Notary Seal this 17th day of October, 2022.
  17
  18
                      <%28196,Signature%>
  19      Susan Baxter, Notary Public
  20      My Commission Expires:
  21      February 21, 2025
  22
  23
  24

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   1      CASE:       TRUTEK CORP. VS. BLUEWILLOW BIOLOGICS, INC.
   2      DEPOSITION OF:       MANSOOR AMIJI
   3      DATE:       October 14, 2022
   4              The above-referenced transcript is available for
   5      review.
   6              Within the applicable timeframe, the witness
   7      should read the testimony to verify its accuracy.              If
   8      there are any changes, the witness should note those
   9      with the reason on the attached Errata Sheet.
  10              The witness should sign the Acknowledgment of
  11      Deponent and Errata and return to the deposing
  12      attorney.       Copies should be sent to all counsel, and
  13      to Veritext at CS-NY@veritext.com.
  14              Return completed errata within 30 days from
  15      receipt of testimony.
  16              If the witness fails to do so within the time
  17      allotted, the transcript may be used as if signed.
  18                                   Yours,
  19                                   Veritext Legal Solutions
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   1      CASE:       TRUTEK CORP. VS. BLUEWILLOW BIOLOGICS, INC.
   2      DEPOSITION OF:       MANSOOR AMIJI
   3                             E R R A T A        S H E E T
   4      PAGE        LINE      PRESENTLY READS               SHOULD READ
   5      _____________________________________________________
   6      _____________________________________________________
   7      _____________________________________________________
   8      _____________________________________________________
   9      _____________________________________________________
  10      _____________________________________________________
  11      _____________________________________________________
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  24      _____________________________________________________


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   1      CASE:       Trutek Corp. Vs. BlueWillow Biologics, Inc.
   2      DEPOSITION OF:       Mansoor Amiji
   3                           Acknowledgment of Deponent
   4                       I, Mansoor Amiji, do hereby declare that I
   5              have read the foregoing transcript, I have made
   6              any corrections, additions, or changes I deemed
   7              necessary as noted above to be appended hereto,
   8              and that the same is a true, correct and complete
   9              transcript of the testimony given by me.
  10      _________________________                           ___________
  11      Mansoor Amiji                                         Date
  12      *If notary is required
  13                            SUBSCRIBED AND SWORN TO BEFORE ME THIS
  14                            _____ DAY OF ______________, 20__.
  15                            ______________________
  16                            Notary Public
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                         Federal Rules of Civil Procedure

                                         Rule 30



            (e) Review By the Witness; Changes.

            (1) Review; Statement of Changes. On request by the

            deponent or a party before the deposition is

            completed, the deponent must be allowed 30 days

            after being notified by the officer that the

            transcript or recording is available in which:

            (A) to review the transcript or recording; and

            (B) if there are changes in form or substance, to

            sign a statement listing the changes and the

            reasons for making them.

            (2) Changes Indicated in the Officer's Certificate.

            The officer must note in the certificate prescribed

            by Rule 30(f)(1) whether a review was requested

            and, if so, must attach any changes the deponent

            makes during the 30-day period.




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            ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

            THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

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            OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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